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THE STATE OF NEW HAMPSHIRE
SUPERIOR COURT
NORTHERN DISTRICT OF HILLSBOROUGH COUN'I'Y

I, W. Michael Scanlon, Clerk of the Superior Court of the
State of New Hampshire, for the County of Hillsborough Northern
District, the same being a court of record having a seal, and
having custody of the records of the said Superior Court, do hereby
certify that the attached is a true copy of All the Pleadings in
the action 216-2016-CV-819 Scottsdale Capital Advisors Corp. v. The
Deal, LLC and William Meagher at this September Term, 2016 of said

Superior Court.

In witness whereof I have hereunto
set my hand and affixed the seal of
said Superior Court this twenty-seventh

day of December, 2016

L(/'- MMJ`,¢QWM

Clerk, Superior Court

ATFIUE § to §
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Clerk

 

Attomey or Party withoqutlorney:
CHARLES J. HARDER, Bar #184593

HARDER MIRELL & ABRAMS LLP
132 S. RODEO DRIVE
SUITE 301
BEVERLY H]LLS, CA 90212
Telephone Na: (424) 203-1600 FAXNa: (424) 203-1601

 

Rej.' No. or File No.:

 

Altomsyfor: Plainfl'ff

 

Insert name quourt, and Judicial Disfn'cl and Branch Court:

The State OfNew Hal:n}gshirel Judicial Branc}_1, Sgpen'or Court

 

Plain:g¢ SCOTTDALE CAPITAL ADVISORS CORP.
Dejimdanr: THE DEAL, LLC, ET AL.

Far' Caurl Use Only

 

mAVIT OF SERVICE Hearing Dale: Ti'me: pl/Div:

 

 

 

 

 

Case Number:
216-2016-CV00819

 

 

1. At the time of service l was at least 18 years of age and not a party to this action

2. I served copies of the SUMMONS IN A CIVIL ACTION; COMPLAINT.

3. a. Parly served: THE DEAL, LLC
b. Person served:
AGENT
4. Address where the party was served: 2711 CEN'I`ERVILLE ROAD
SUITE 400

W]I.l\rleGTON, DE 19808
5. 1 served the party:

LYANNE GARES, CORPORATION SERVICE COMPANY, REGISTERED

a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive

process for the party (1) on: Thu., Dec. Ol, 2016 (2) at: 9:20AM

7. Person leo Served Papers: Feefor Servz'ce:
a. VITO CH[EFFI

600 W. SantaAna Boulevard, Suite 101
SantaAna, CA 92701

’Iblephone (714) 541-1110

FAX (714) 541-8182
www.firstlegalnetwork.com

  

8. I declare under penalty of perjury under the laws of the State afNEWMMPSHIRE and under thelaws of the United Slates O_f

Amerlca that the foregoing is true and correcr.

AFFIDAVIT OF SERVI ’

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THE STATE OF NEW HAMPSH|RE

JUD|C|AL BRANCH

SUPER|OR COURT
Te|ephone: 1-855-212-1234
TTY/TDD Re|ay: (800) 73572964
http://www.courts.state.nh.us

Hil|sborough Superior Court Northern District

300 Chestnut Street
l\/|anchester NH 03101

SUMMONS lN A ClVlL ACT|ON

Case Name: Scottsda|e Capital Advisors Corp., et al v The Dea|, LLC, et al
Case Number: 216-2016-CV-00819

Date'Complaint Filed: November 18, 2016
A Complaint has been filed against Wi||iam Meagher; The Deal, LLC in this Court. A copy of the
Complaint is attached

The Court ORDERS that ON OR BEFORE:

January 07, 2017 John Hurry; Scottsdale Capital Advisors Corp. shall have this Summons
and the attached Complaint served upon Wi||iam Meagher; The Deal, LLC
by in hand or by leaving a copy at his/her abode, or by such other service

as is allowed by |aw.

January 28, 2017 John Hurry; Scottsda|e Capital Advisors Corp. shall file the return(s) of
service with this Court. Failur_e to do so may result in this action being
dismissed without further notice.

30 days after Defendant Wi||iam Meagher; The Dea|,-LLC must file an Appearance and Answer or

is served other responsive pleading form with this Court. A copy of the Appearance

and Answer or other responsive pleading must be sent to the party listed
below and any other party who has filed an Appearance in this matter.

Notice to Wi||iam Meagher; The Deal, LLC: lf you do not comply with these requirements you will
be considered in default and the Court may issue orders that affect you without your input.

Send copies to:

Scottsda|e Capita| Advisors Corp. 7170 E |V|cDona|d Drive #6
Scottsda|e AZ 85253
George R. Moore, ESQ Devine l\/|i|limet & Branch PA

111 Amherst Street
Manchester NH 03101

BY ORDER OF THE COURT

as esaMM

November 23, 2016 W. l\/lichael Scan|on
C|erk of Court

(540)

NHJB-2678-S (10/23/2013)

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THE STATE OF NEW HAMPSHIRE

HILLSBOROUGH, SS. SUPERIOR COURT
NORTHERN DISTRICT Docket No.
Scottsdale Capital Advisors Corp.
and
John Hurry

v.
The Deal, LLC and Williar_n Meagher
COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW Plaintiffs Scottsdale Capital Advisors Corp. (“SCA”) and John Hurry
(“Mr. Hurry”) (collectively “Plaintiffs”) with Complaint against Defendants The Deal, LLC

(“The Deal”) and William Meagher (“Mr. Meagher”) (collectively, “Defendants”) and shows the

Court the following:
PARTIES
1. Plaintiff SCA is an Arizona corporation, having its principal place of business at

7170 E. McDonald Dr. #6, Scottsdale, Arizona 85253. At all relevant times, SCA was and is a
securities broker dealer engaged in the business of holding and trading in securities and was and
is a registered member firm of the Financial Industry Regulatory Authority, Inc. (“FINRA”), a

private corporation which regulates the securities industry.

2. Plaintiff Mr. Hurry is an individual residing in Glenbrook, Nevada who maintains
a business office in Glenbrook, Nevada. At all relevant times, Mr. Hurry Was and is an executive

officer of SCA. Mr. Hurry and SCA do substantial business in the micro-cap and small cap

securities sector.

3. On information and belief, Defendant The Deal is a Delaware limited liability

company, having its address and principal place of business at 14 Wall St., 15th Floor, New

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York, NY 10005. On information and belief, The Deal publishes print and electronic
publications concerning the financial sector, including The DealFlow Report (“DealFlow”) and
T he Deal Pipeline (“Pipeline”). On information and belief, The Deal’s publications are
physically and electronically distributed to subscribers by The Deal and its parent/affiliate,
TheStreet.com. On information and belief, The Deal’s publications, including DealFloW and
Pipeline, enjoy a substantial circulation, especially to members of and those with an interest in
the financial sector (especially the micro-cap and small cap securities sector), and are distributed
to paid subscribers in New Hampshire.

4. On information and belief, Defendant Mr. Meagher is an individual residing in

California Who is employed as a writer by The Deal and TheStreet.com.

 

JURISDICTION AND VENUE
5. This Court has subject matter jurisdiction over this action pursuant to N.H. R.S.A.
491 :7.
6. The Court has personal jurisdiction over Defendants because they committed

tortious acts in New Hampshire. On information and belief, Defendants publish online content
for distribution to paid subscribers within the state of New Hampshire, thereby availing

themselves ofNew Hampshire law and the benefit of conducting activities in the forum state.

7. New Hampshire has a strong interest in this litigation, as the tortious acts caused
injury in New Hampshire.
8. Having the case heard in New Hampshire provides the Plaintiff`s With an effective

and convenient forum to obtain relief, and the acts of the Defendants are intertwined, such that

interstate judicial efficiency is served by avoiding multiple lawsuits

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FACTUAL BACKGROUND

9. On December 6, 2013, an article written by Mr. Meagher appeared in Deal
Pipeline entitled “FBI, securities officials investigating Scottsdale Capital, Alpine Securities,
source says” (“December 6 Article”). § Exhibit A. The December 6 Article falsely stated that
Plaintiffs and their affiliated companies were being criminally investigated and being
investigated by securities regulators. The December 6 Article further falsely Stated that Plaintiffs
engaged in favoritism towards shareholders of a company named Biozoom, including by
allowing them to trade in violation of SCA policies and giving them special perks. The
December 6 Article also falsely stated that Plaintiffs ignored “red flags” with respect to Biozoom
transactions

10. On March 20, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled “SEC requests default judgment in $34M Biozoom pump-and-dump case” (“March 20
Article”). §§g Exhibit B. The March 20 Article falsely stated that Plaintiffs and their affiliated
companies were being investigated by the FBI, and were the targets of criminal and securities
investigations The March 20 Article also falsely stated that Plaintiffs were involved in a “pump
and dump” scheme with Biozoom. (According to Wikipedia, “‘[p]ump and dump’ (P&D) is a
form of microcap stock fraud that involves artificially inflating the price of an owned stock
through false and misleading positive statements, in order to sell the cheaply purchased stock at a
higher price”.) §§ https://en.wikipedia.org/wiki/Pump_and_dump.

ll. On April 16, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled “Finra focusing on money-laundering violations” (“April 16 Article”). § Exhibit C.

The April 16 Article repeated the false claim that Plaintiffs and their affiliated companies were

under FBI investigation

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12. The statements in the December 6, March 20, and April 16 Articles are false and
defamatory. Mr. Hurry and his companies, including SCA, enjoy an excellent reputation, and at
all times conduct themselves in accordance with high ethical standards and had not been under
any criminal or regulatory investigation at the time that Mr. Meagher’s articles were published

Plaintiffs Were not involved in any “pump and dump” scheme and never gave special treatment

to Biozoom shareholders

13. The defamatory statements made by Defendants have substantially harmed
Plaintiffs’ business relationships Plaintiffs and their affiliated companies have seen brokerage
and bank accounts closed, longstanding banking relationships severed, proposed business
transactions halted, and investments hampered, delayed, or declined as a result of the defamatory
statements made by Defendants. In addition to causing actual damages the defamatory

statements constituted defamation per se because they were the type that would tend to injure

Plaintiffs in their trade or business

COUNT I - DEFAMATION

14. Plaintiffs incorporate by this reference Paragraphs 1 through 13 of this Complaint

as though fully set forth herein.

15. Defendants have published false and defamatory statements of fact about

Plaintiffs

16 . The false and defamatory statements were made Without the privilege to do so and

concern the personal, professional and business reputations of SCA and Mr. Hurry.

17. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

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COUNT II - INVASION OF PRIVACY, FALSE LIGHT

18 . Plaintiffs incorporate by this reference Paragraphs 1 through 17 of this Complaint
as though fully set forth herein,

19. Defendants published private information that portrayed Plaintiffs in a false light.

20. The false light in which Defendants placed Plaintiffs would be highly offensive to
a reasonable person.

21. Defendants knew that the assertions they published Were false and/or acted in
reckless disregard as to the falsity of the publicized matter and the false light in which Plaintiffs
would be placed by those assertions

22. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT III - INTENTIONAL INTERFERENCE WITH CONTRACTUAL
RELATIONS

23. Plaintiffs incorporate by this reference Paragraphs 1 through 22 of this Complaint

as though fully set forth herein.

24. Defendants knew that Plaintiffs, being securities broker dealers engaged in the
business of holding and trading in securities had business relationships Which would have been
completed had it not been for Defendants’ unlawful acts

25. Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by
intentionally and unjustifiably interfering with their actual business relationships

26. On information and belief, as a direct result of Defendants’ publication of

defamatory statements about Plaintiffs, Plaintiffs have lost business relationships and/or

Plaintiffs’ existing business relationships have been harmed.

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27. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT IV - TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
ADVANTAGE

28. Plaintiffs incorporate by this reference Paragraphs 1 through 27 of this Complaint

as though fully set forth herein.
29. Defendants knew that Plaintiffs being securities broker dealers engaged in the
business of holding and trading in securities had a reasonable expectation of entering into valid

business relationships which would have been completed had it not been for Defendants’

unlawful acts
30. Defendants through the misconduct alleged herein, intended to harm Plaintiffs by

intentionally and unjustifiany interfering with their prospective business relationships

31. On information and belief`, as a direct result of Defendants’ publication of
defamatory statements about Plaintiffs Plaintiffs have lost business relationships and/or

Plaintiffs’ prospective business relationships have been harmed.

32. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

WHEREFORE, Plaintiffs SCA and Mr. Hurry, respectfully request:

A. An award of general, special, and enhanced compensatory damages within the

jurisdictional limits of the Court;

B. An injunction enjoining the further publication of the false statements in

Defendants’ articles;

C. An award of attorneys’ fees in connection with this matter;

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D. An award of interest and all costs incurred in connection with this matter; and

E. Such other and fin'ther relief as may be appropriate based on the allegations

herein.

JURY DEMAND

PLAINTIFFS SCOTTSDALE CAPITAL ADVISORS CORP. AND JOHN HURRY

DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

Dated: //l%?///j‘t>/
/ /

Dated: ////f///~(
/ /

Respectfully submitted,

SCOTTSDALE CAPITAL ADVISORS CORP.
AND JOHN HURRY

By their attorneys
DEVINE, MILLIMET & BRANCH, P.A.

 

 

1 l "z.q,¢
George R. Moo/r/e, Esquire

NH Bar No. 1791

111 Amherst Street

Manchester, NH 03101

603-669-1000

HARDER, MIRELL & ABRAMS, LLP

Charles J. Harder (CAB # 184593)
Pro Hac Vice to be filed

Jordan Susman (CAB # 246116)
Pro Hac Vz'ce to be filed

132 South Rodeo Drive, 4th Floor
Beverly Hills, CA 90212
424-203-1600

By

 

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FBI, securities officials investigating Scottsdale Capital, Alpine Securities, source says - Deal Pipeline

 

 

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FBl, securities officials investigating Scottsdale
Capital, Alpine Securities, source says

By Bill Meagher Updated 09:05 PM, Dec-06-2013 ET

The FBl, the Securities and Exchange Commission and the Financlal lndustry Regulatory Authority have
opened investigations into the involvement of Scotlsdale Capita| Advisors and Alpine Securities in the trading
of Biozoom lnc., according to a person familiar with those investigations

investors in Biozoom lost some $300 million after the SEC halted trading in the stock in June. The commission
cited "a lack of current and accurate information" about the stock and suspicions that the company and some
shareholders may have illegally sold unregistered shares to the publlc.

Before it allowed trading in Biozoom to resume in July, the SEC obtained an emergency order from the U.S.
District Court in l\/lanhattan, freezing almost $16 million in cash in U.S. brokerage accounts

Another $17 million in trading revenues connected to sales of Biozoom shares was wired overseas before the
court order, the SEC claimed in its court filing. Another $8 million in wire transfers requested by Biozoom
shareholders were halted by the broker-dealers before they could go overseas

The SEC also ordered the broker-dealers involved in the transactions Arizona-based Scottsdale Capital, Salt
Lake City-based Alpine and Legend Securities Inc. of New York, to preserve all of their records connected to

the Biozoom transactions

The regulator charged eight Argentine citizens with illegal sales of unregistered shares of Biozoom. The
complaint also named two other Argentines who owned shares of Biozoom but did not sell them prior to the

asset freeze. ~

Biozoom, which lists Kasse|, Germanyl as its headquarters purports to manufacture a "biofeedback device"
that consumers can use to monitor and analyze data related to their health. The company went public in
February through a reverse merger with registered shell company Entertainment Art lnc. and raised $1.15
million ln a private placement to an investor whose identity was not disclosed.

The stock was the subject of an unusual promotion four months |ater. Recommendations for Biozoom stock
appeared in at least 13 e-mai| newsletters according to Hotstocked.com, a website that tracks stock
promotions Legal disclaimers that accompanied the promotions claimed that no compensation had been paid

 

 

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FBI, securities officials investigating Scottsdale Capital, Alpine Securities, source says --Deal Pipeline

for the stock-friendly hype. Legal disclaimers in penny stock newsletters often identify the companies that pay
for stock promotions and sometimes provide details of the compensation, as is required under securities law.
Some stock promotion budgets run as high as $3 million.

One of the promotions claimed that Biozoom's "hand held device for the non-invasive transdermal analysis of
ant|oxidants and other blomarkers in the human body... replaces expensive, time consuming and invasive
blood tests."

"Future applications future roll-out markets and applications are even more impressive." another newsletter
stated. ”Re|evant biomarkers can and will be identified and analyzed for things such as cholestero|, alcoho|,
various illegal drugs, smokel poisonsl and blood pressure - to name a few. The unit is being further developed
to measure blood sugar levels, tapping into a staggering $220 billion a year diabetes market in the U.S. and
350 million people with diabetes around the world."

Biozoom stock was also promoted in an unusual advertising campaign that made use of mainstream media
outlets including the New York Times and USA Today. |n June. ads that took up most of a full page were
placed in those newspapers that ostensibly promoted a London-based publication called Globa| Flnanciai
lnsights. But, while the ads included subscription information and other details about the publication, most of
their space was taken up with the magazine's recommendation of Biozoom stock.

A full-page black and white ad in USA Today could have cost $125.000. according to information that the
newspaper distributes to advertisers A similar New York'Times ad would run $80,000 to $100,000, according

to a newspaper spokesperson.

Both ads featured a headline that read, "|nnovative Technology Company lnvents Real 'Star Trek' Medical
Scanner that Diagnoses Patient Health in Seconds.'

A recommendation for Biozoom stock also featured prominently in an advertisement for a newsletter called
TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozooml which was distributed
May 16l the day that Biozoom began trading at $1.10. The report valued the shares at $10.30.

Biozoom started trading with a thin volume of about 10,000 shares a day. The $1.10 share price implied a
market value of $108.6 million forthe company.

But when the promotion began to pick up speed, the shares rose to $1.50 on their way to an intraday high of
$4.50 and a market cap of $421.5 million. Trading volume jumped as high as 11.7 million shares

When the stock was haltedl the shares were at $3.45. When trading resumed, they plunged to 13 cents giving
Biozoom a market capitalization of just $9.56 million. investors lost more than $300 million.

Finra and SEC officials declined to comment for this story. An FBl spokesman would neither confirm nor deny
the existence of a criminal probe lied to Biozoom trading.

But a source who has spoken to investigators said the investigations are ongoing. The probes by Finra and the
SEC began in May, prior to the trading halt.

The brokerage firm Scottsdale Capital is owned by Scottsdale Capital Advisors Holdings LLC and the Hurry
Family irrevocable Trust. Alpine is owned by SCA C|earing LLC. Both Scottsda|e and Alpine are controlled by
John Hurry, who is a director of both companies Hurry's wife Justine is a director with Scottsdaie and a

minority owner.

The home pages of both Scattsdale Capita|'s and Alpine's websites feature the same motto, "At the top of the
Smal| Cap Market," along with a photo of a mountain peak. For Seottsdaie, it is a desert mountain. For Alpine,
it's a snow capped peak.

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

The SEC complaint alleges that six of the shareholders named in the action, Magda|ena Tavellal Adriana
Bagattln, Daniela Goidman. Mariano Graciarena, Femando Loureyro and Mariano Ferrari, opened accounts at
Scottsdaie between May 10 and June 14. The other shareholders named by the SEC _ Andres Ficicchial
Gonzaio Biaya, Lucia Hernando and Ceciiia De Lorenzo - opened trading accounts at Legend Securities from
January through March, according to the SEC. Ficicchia also had an account at Scottsdaie.

in all, the Biozoom shareholders deposited 20.1 million shares in the trading accounts which represented 100%
of the share float that did not carry a trading restriction. Those shares represented about 33% of the total

shares in the company.

None of the Biozoom shareholdersl contacted by e-mail, responded to a request for comment from The Deal.

Legend Securities is owned by Stocktrade Network inc.l Chris Cacacel Salvatore Carusol Anthor'iy Fusco and
Mark SuiavkaI according to Finra records.

The SEC claims that when the Argentine shareholders opened their trading accounts at Scottsdaie and
Legend, they provided documents and sales receipts purporting to show that they had bought their shares
between Feb. 19 and March 15 from the original shareholders of shell company Entertainment Art. But the
SEC states in its complaint that ali of the Entertainment Art shareholders sold their shares to Medford Financiai
Ltd. in 2009. Medford in turn was purchased by Le Mond Capitall a British Virgin islands-based firm, for
$430,000 last year. Le Mond was controlled by Sara Deutsch. who became CEO of Entertainment Art.

When the reverse merger took place in Februaryl Deutsch paid $50,000 and 39 million shares to complete the
transaction with four German entities for intellectual property that became the basis for Biozoom. The deal left
her with 20.1 million shares. Deutsch became a director and assistant secretary for Biozoom. and in doing so,
became what the SEC considers to be a control person.

The commission alleges that the shares Deutsch controlled were the shares that were actually distributed to
the Argentine shareholders and that the stock sale agreements they used to help open the trading accounts at
Scottsdaie and Legend were fakes_ Since Deutsch was a control person, any shares she distributed would be

restricted and not free trading.

Deutsch ran a restaurant in Buenos Aires along with Magda|ena Tavella called Magda|ena's Party, according
to the SEC complaint. Tavella was one of the Biozoom shareholders who traded through Scottsdaie.

Miiler Piace, N.Y.-based securities attorney Randall Gouiding supplied a legal opinion for all of the Biozoom
shareholders, based in part on the stock sale documents portraying the transactions with original
Entertainment Art shareholders the SEC claimed in a court filing requesting the asset freeze. His opinion letter
stated that the share certificates could be deposited without restrictions based on an exemption from
registration provided by Rule 144 of the Securities Act. He said that the sellers were not affiliates of the
company and had held the shares for more than four years and that the account holders were not individually
or collectively the beneficial owner of more than 10% of the common shares of the company.

On June 19l Gouiding e-mailed the general counsel for Legend saying, "l hereby withdraw all of my opinions
issued for the securities of Biozooml fonner|y Entertainment Art. Be advised that none of these opinions should

be relied upon," according to the SEC

San Antonio-based securities lawyer David lMse. who had supplied a similar legal opinion letter to Scottsdaie
for Tavella and Goidman on May 20, withdrew his letter June 26. Wise sent an e-mali to Scottsdaie that in part
read, "lt has been brought to our attention that the SEC recently suspended trading in Biozoom. it has also
been brought to our attention that Tavella and Goidman may have provided inaccurate or misleading
information and documentation to Scottsdaie and to this tirm."

A number of factors make it appear that the Biozoom shareholders were connected in an organized effort.

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

A person who has spoken with investigators said that the six shareholders who held Scottsdaie accounts
opened them within the same week. The SEC complaint states that ali of the shareholders live in Buenos

Aires.

A person familiar with the investigative documents said the handwriting on the account applications for the
Biozoom shareholders was the same. the answers to questions on their foreign due diligence packages were
very similar and they held accounts at the same banks in Cyprus, Switzeriand and Panama.

Moreover, the e-mai| addresses they furnished for their trading accounts were opened within a week of each
other, according to Whosis.com, a website that furnishes information on domain registrations The addresses
are also similar, all containing the account holders' last names

The shareholders with accounts at Legend were also from Buenos Aires.

According to a declaration filed with the court by Ricky Sachar, an assistant director of enforcement for the
SECl all of the shareholder’s e-mai| accounts were opened with the same regional |ntemet registry. Ail of the
Biozoom trades were made from May 16 to June 17 and no other stocks were deposited or traded through the
accounts at either Scottsdaie or Legend. Also, all of the Biozoom trades were ordered using either e-maii or
instant messaging accounts.

"These shareholders were brought in for this. lt's as simple as that,“ said a person with knowledge of the
investigationsl "They are retired teachers, a deli owner, but they come in with millions of shares of stock. They
only trade Biozoom and they are directing trades using traders' |ingo, telling them which market makers to use
for the trades? Come on. They were straw men for whoever is behind this whole thing."

That same person said the Biozoom shareholders who opened accounts with Scottsdaie enjoyed perks that
were not available to other Scottsdaie ciients.

Typica| clients pay 4% per transaction, or 4.5% if their transactions are cleared through Alpine. Longtime
clients who do a heavy volume of business may occasionally receive a discount of one percentage point. But
Biozoom clients paid just 2%. the person said.

They were also allowed to place orders using instant messaging, which is generally forbidden under
Scottsdale's internal policies. A person with knowledge of Scottsdale's operations said the policy was changed
for the Biozoom shareholders by the broker-dealers management after Biozoom shareholders complained.

A standing Scottsdaie policy only allows clients to wire funds from their accounts to banks in the U.S. or to
institutions in the country where they |ive. But the person said that Biozoom shareholders were allowed to send
funds to Cyprus, Switzeriand, Panama and Belize, despite the fact that all of them live in Argentine and all of
them had signed documents agreeing to abide by Scottsdale's wire policy.

The same person said that several red flags were raised regarding the Biozoom trades at Scottsdale: They
were large trades in a microcap stock with relatively little liquidity. Also, foreign nationals were wiring large
sums out of the U.S.. raising potential concerns about money laundering. Stil|, no follow-up occurred at the

broker-dealerl the person said.

Finra, who has worked with the SEC on the probe, has had several "on-the-record" conversations with
Scottsdaie staff regarding the trading of Biozoom sharesl the process by which the accounts were opened for
the Argentine nationals and how assets were moved offshore, according to a person who has spoken with
investigators "OTRs", as they are known in the brokerage industryl are sessions in which Finra staff ask
specific questions of registered representatives who must answer them or face disciplinary actions.

A source who has spoken to investigators said Scottsdaie staff members who have talked with Finra regarding
Biozoom trades are Timothy Scarpino, Tim Diblasil Liz Amdt, Henry Dlekmann, Jay Noiman, Michael Cruz,
Adam Fiandaca and Ted Ashton.

 

 

http://pipeline.thedeal.com/31/100079185 14/14093955.t?d=6&amp;cmpid=em:RGl20913&amp;user...

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

Finra also talked with John Hurryl that same source said.

Scarpino, who processed the Argentine accounts connected to the Biozoom trades, resigned from his position
at Scottsdaie. He declined comment for this story. Ashton. who was a compliance analyst, also is no longer
with the firrn. Efforts to reach him failed.

Amdt is the office manager and overseas trading. Noiman and Diekmann are in compliancel and Diblasi is
chief operating ofncer. Cruz is chief counsel, and Fiandaca handles wiring of funds.

Diekmann denied he participated in the OTRs with Finra in a very brief phone interview.

None of the other Scottsdaie staff questioned by Finra returned phone calls from The Deal seeking comment
regarding the OTR's about Biozoom.

Geraid Russello, a partner at the law firm of Sidiey Austig LLP in New York, said that Scottsdaie and Alpine
would have no comment regarding Biozoom trading or the investigations by Finra, the SEC and the FB|.
Russel|o is a securities lawyer and former SEC enforcement branch chief.

Richard Kirby, a partner with K&L Gates LLP in Washington who represents Legend Securities, said he does
not know if the SEC is concerned with how Legend conducted itself with regards to the Biozoom trades. but he

said that Legend had not filed any notice with Finra regarding an SEC investigation.

Kirby also said that Legend alerted the SEC to its concerns regarding Biozoom and that the broker-dealer had
acted on its own to freeze accounts tied to the Argentine nationals prior to the SEC action Juiy 7.

Whiie Legend did complete a June 13 $600,000 wire transfer for Luciana Hernando to Hellenic Bank Pubiic
Co. in Lemesos, Cyprus, it refused Hernando's request to move $2 million to the same bank on June 17.
Legend also refused a wire request from Blaya June 14 to transfer almost $3.5 million to a bank in Geneva,

according to the SEC oomp|aint.

Meanwhiie, John Hurry, who controls both Scottsdaie and Alpine. is in negotiations to buy Salt Lake City-based
broker-dealer Wiison-Davis & Co., according to a person with knowledge of the deal.

 

Representatives of Wi|son-Davis did not return phone calls from The Deal seeking comment. Scottsdaie
representatives declined to comment.

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SEC requests default judgment in $34M Biozoom pump-and-dumncase By Bill Meagher Updated 04:10
PlVl, |Viar-20-2014 ET

The Securities and Exchange Commission plans to request a default judgment against the 10
Argentine residents who have been named as defendants in the $34 million Biozoom Inc. pump-

and-dump case after two law firms representing the Argentines asked to withdraw from the case.

The SEC filed a letter Tuesday, March 18, with Judge Naomi Buchwaid in the U.S. District
Court in Manhattan, stating that it planned to request the judgment because the defendants had
failed to respond to the lawsuit by court ordered deadlines

F our days earlier, attomey Marc Agnifrio had informed the court that his firm, New York-based
Brafrnan & Associates PC, would withdraw as counsel to the Argentines

Brafman is the second firm that has represented the group charged with selling 20.3 million
shares of Biozoom without proper registration In September, McLaughlin & Stern LLP also
withdrew.

Brafman is a high-profile criminal defense fnrn that has counted crime boss Salvatore "Sammy
the Bull" Gravano, rapper Sean Combs and fenner lnternational Monetary Fund chief
Dominique Strauss-Kahn among its clients.

Agnifi.lo declined to continent on the firm's withdrawal from the Biozoom case. In his letter to
the court, he said that Brafman had been told by the Argentines that it would be retained, but that

a retainer agreement was never signed.

Those named as defendants are Magdalena Tavella, Andres Horacio Ficicchia, Gonzaio Garcia
Blaya, Lucia Mariana Hernando, Cecilia De Lorenzo, Adriana Rosa Bagattin, Daniela Patricia
Goidman, Mariano Pablo Ferrari, Mariano Graciarena and Fernando Loureyro.

None of them responded to e-mails requesting comment

A person familiar with the case said that Buenos Aires-based lawyer Juan lgnacic Prada has been
seeking representation for the group. Prada did not respond to a request for comment

Patrick Bryan, assistant chief litigation counsel for the SEC, said the commission will file
paperwork to pursue the default judgment in the next month. He declined to comment further.

The SEC filed the lawsuit last July, claiming that the Argentines had opened brokerage accounts
at Arizona-based Scottsdaie Capital Advisors and New York-based Legend Securities Inc.,
depositing shares and providing paperwork stating that the stock was purchased from
shaleholders in Entertainment Arts Inc.,l the registered shell company that had merged with

Biozoom to bring it public in February 2013.

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Biozoom, Which lists Kassel, Gennany, as its headquarters claims to produce a "biofeedback
device" that consumers can use to monitor and analyze data related to their health.

In its complaint, the SEC alleges that the stock purchase agreement documents Were false and
that the Entertainment Art investors had sold all of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to Speculation that members
of the group Were not the real investors, but instead were simply nominees. None of the
Argentines listed investor as their profession, and none of them deposited or traded in any other
stocks, according to a person familiar with the investigation.

The Argentine group is said to have included retired teachers and the owner of a delicatessen.

Scottsdaie Advisors is said to have given the Biozoom shareholders perks that were not available
to other clients. They submitted trade orders by e-mail or instant messaging, which the firm did
not allow for most clients. The Biozoom shareholders were also charged commissions of just
2%, while other clients paid 4% to 4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in
Cyprus, Switzerland, Panama and Belize, despite a standing policy at Scottsdaie that usually only
allows clients to Wire funds to U.S. banks or to institutions in the country where they live.

The SEC halted trading in Biozoom on June 25 and, in July, asked the court for an emergency
order freezing the defendants' assets. That kept $16 million in stock sale proceeds in the U.S.
Another $17 million had already been wired overseas prior to the freeze.

The SEC alleges says that, from March 2013 through June, the Argentines received 20 million
shares of Biozoom, which Was about one-third of the company's stock. In May, they sold 14

million shares reaping almost $34 million.

The shares Were sold into a promotion that started May 16, as the company issued a series of
press releases, and continued into June. Biozoom's share price tripled, reaching an intraday high
of $4.50, implying a valuation of$421.5 million.

As of June 30, Biozoom owned assets valued at only $1.05 million, according to its last filing
with the SEC. In the quarter ending June 30, the company had no revenue and a loss of
$3 28,67 l .

When the stock Was halted, the shares were at $3.45. When trading resumed, they plunged to 13
cents, cutting more than $300 million from Biozoom's market value.

The promotion was unusual in the form it took. It included advertising in mainstream media
outlets, including the New York Times and USA Today. in June, ads that took up most of a hall
page were placed in those newspapers that ostensibly promoted a London-based publication
called Global Financial Insights, But, while the ads included subscription information and other

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details about the publication, most of their space was taken up with the magazine's
recommendation of` Biozoom stock.

Both ads featured a headline that read, "Innovative Technology Company Invents Real 'Star
Trek' Medical Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also featured prominently in an advertisement for a
newsletter called TheStockReport.corn that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which
was distributed May 16, the day that Biozoom began trading at $1.10. The report valued the

shares at $10.30.

The FBI and the Financial lndustry Regulatory Authority have been investigating the
involvement of` Scottsdale and Alpine Securities, its Salt Lake City~based clearing firm, in
connection with the Biozoom stock sales since May, according to a person with knowledge of`

the probc.

The firms have provided securities officials with documents pertaining to the Biozoom trades
and shareholders, including those sought under an unusual request from the SEC and Finra that
employees turn over all personal notes regarding Biozoom. Scottsdale and Alpine Were also

forbidden ti‘om destroying any Biozoom records.

Finra has scheduled an audit of Scottsdale at the end March, according to a person familiar with
the investigation.

Representatives of the SEC, Finra, Scottsdale and Alpine declined to comment. An FBI
spokesman said the agency will neither confirm nor deny the existence of an investigation.

Read more: http://pipe|ine.thedeal.com/tdd/'VieWArticle.dl?id=10007955861#ixzszboncW\/V

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Finra focusing on money-laundering violations - Deal Pipeline Page 1 of 5

 

 

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Finra focusing on money-laundering violations

By Bill Meagher Updated 07:00 PM. Apr-16-2014 ET

On March 10, the staff at Scottsdaie Capital Advisors was startled when their receptionist called out into the
oftlce, "Flnra is herel"

While representatives from the Financial industry Regulatory Authority were expected at the end of the month
for a scheduled two-week exam, this visit had nothing to do with that appointment Rather. the investigators
asked for tiles relating to overseas clients and omnibus accounts. which are owned in the names of other

brokerage frrms. according to a person familiar with the raid.

That person said that a group of Finra investigators hauled away copies of documents regarding omnibus
accounts at Scottsdaie that included those owned in the names of Belize-based Titan international Securities .
inc. and Cayman islands-based Caledonian Giobai Financia| Servioes inc., and a Cayman account linked to

Scottsdaie owner John Hurry,

Geraid Russello, a partner with the law firm of Sidley Austin LLP who represents Scottsdaie. declined to
comment. Representatives of Titan international did not return a phone call seeking comment.

Caledonian Giobai CEO Kobi Dorenbush said his firm had not been contacted by any U.S. regulators.

The action at Scottsdale's Arizona offices came a month after brokerage hrm Brown Brothers Harrlman &
Q_o_. was fined a record $8 million by Finra in a settlement over alleged violations of anti-money laundering
regulations Finra also levied a $25,000 hne and a one-month suspension from the securities industry against
Harold Crawford. the New York-based firm's former anti~money-|aundering compliance officer.

Finra said that, from January 2009 to June 2013, Brown Brolhers executed trades or delivered securities in
transactions involving at least 6 billion penny stock shares, with many of those transactions made through
omnibus accounts on behalf of clients that the firm could not identify. Some of the $845 million in proceeds
were allegedly wired to Switzer|and, Guernsey and Jerseyl countries with strong bank secrecy laws. Those
locations and transactions should have raised red tiags with Brown Brolhers and prompted the tirm to tile
suspicious activity reports under federal anti-money-laundering regulationsl according to Finra.

Brown Brolhers agreed to the settlement without admitting or denying Finra's tindlngs. The tirm also issued a
statement saying it had changed its procedures for handling low-priced securities and for surveillance of

 

 

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Finra focusing on money-laundering violations - Deal Pipeline Page 2 of 5

activity in low-priced securities to "mitigate a possible recurrence of this matter." Brown Brothers also said that
the activity covered by the settlement represented a small part of its investor services business and did not
involve its investment management or private banking business

Some violations of anti-money-laundering regulations have been closely linked with stock manipulation and
pump-and-dumps of microcap stocksl both of which have been identified as priority areas for enforcement

action by Finra and the Secg[|g|es and Excgange Commlssion.

Finra's action against Brown Brothers has gotten the attention of broker-dealers anti-money laundering
consultants and lawyers for two reasons The finel the largest ever handed down for an antl-money-laundering
violation by Finral has served notice that the regulator is serious about firms cleaning up their antl-money-
laundering programs And the fact that Crawford was fined for the company's alleged failure to create an
effective anti-money-iaundering program is seen by some as unfalr.

"Flnra has served notice that there is personal responsibility for a company failing to implement an adequate
program.' said Kevin Petrasic. a partner in the Washington office of law firm Paul Hastlngs LLPl whose

practice includes anti-money-laundering litigation

"ll is a no-win situation and a bit draconian," he said. "AiViL compliance officers are in a barbeli on this. They
want to put a program in placel and Finra expects that program to work, but sometimes the senior
management doesn't want to pay for the resourcesl so they choose not to implement the program. and the
AML ofhcers are in the middle between management and th'e regulators Who wants thatjob?"

ln Crawford's case, he went to Brown Brothers' management and proposed changes that would affect the anti-
money-iaundering program, according to documents that Finra staff filed in their administrative action. in
November 2011, Crawford and other Brown Brothers compliance staff are said to have recommended that the
firm stop executing trades for penny stocks below a certain threshold value. They are also said to have
recommended that the tirm require omnibus account clients that wished to offer brokerage services to their
own customers to set up a disclosed subaccounts.

Brown Brolhers did not change how it handled penny stocks until last June. according to Finra.

Omnibus accounts are often held in the name of foreign financial intermediaries who, in lurn, are handling
stocks for clients that might not be known to the U.S. broker-dealer. Finra has told broker-dealers that it is
important to know_who are the actual investors behind the omnibus accounts.

Anti-money laundering regulations are designed to keep money made in illegal activities from being made to
look as if it is the product of legitimate endeavors Wilh Finra, they center on Rule 3310. it requires each
brokerage firm to implement a compliance plan that is approved by a member of senior management in writing.
The plan must be designed to detect and assure the reporting of suspicious transactions The plan must also
comply with the Bank Secrecy Act and include an annual independent compliance test. Flrms are also required
to identifth Finra an individual or group responsible for the day-to-day operation of the anti-money-laundering

program.

Each year in January, Finra issues its Regulatory and Examination Priorities Letter which details issues where
the regulator plans to devote resources in 2012, the letter named microcap stock fraud as an enforcement

priority.
"As a part of their anti-money laundering responsibilities member firms are obligated to monitor suspicious
activity and to file Suspicious Act|vity Reports where warranted ," the 2012 letter staled.

Last year. efforts against money laundering received their own paragraph in the letter.

"Flnra examiners continue to focus on AML compliance. particularly at firms with higher-risk business models
due to their clients, products and service mix or location in which they operate."

 

 

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Finra focusing on money-laundering violations - Deal Pipeline Page 3 of 5

This yearl Finra doubted the space in its letter devoted to efforts against money laundering The regulator said
it planned to focus on institutional businessl as well as a trend of broker-dealers not pursing the identities of
some shareholders in transactions disposing of large volumes of low-priced stocks

"l think what is going on ls obvious." said a former Finra official who now consuits on anti-money-iaundering
issues "Flnra feels like these regulations have been on the books for what. 11, 12 years? The firms have had a
chance to put AML programs in place, hire good people, and still there are problems.`So Finra jumps the fines
to get their attention. They are saying, ‘We are serious and unless you take care of this it is going to cost you

some real money."'

Paul Tyrrell, of counsel in the Boston office of law firm Sidiey Austin LLP, said that some in the brokerage
industry have been rattied by Finra's targeting of individuals for enforcement of anti-rnoney-iaundering rules

"Where is the line being drawn?" he said. "l don‘t know and nobody else does either. What we are seeing in the
[anti-money-iaundering] exams is that Finra is being more robust, running it down to the end. They are asking
what you did, and when you did itl and people are wanted that Finra is now looking at AML ofncers, branch

managers and even individual representatives."

For example, in March 2013, the regulator accused James Pilla, a registered representatives of Ameriprise
Financiai Services lnc.l of failing to report red flags raised by penny stock trades in 26 of his client accounts
and failing to meet face-to-face with 59 of his clients to verify their identities before opening their accounts. His
actions allegedly violated Ameriprise's anti-money-laundering procedures Finra suspended him for three

months and fined him $15.000.

Finra filed 36 anti-money-laundering actions last year. down from 45 in 2012 and 38 in 2011 . The regulator did
not make anyone available to comment for this story.

Among its actions was a $1.4 million fine against Oggenhei`mer Hoidings |nc. last August for alleged
violations that included a failure to conduct due diligence on foreign financial intermediaries Finra claims that
from August 2008 through September 2010, Oppenheimer sold 1 billion unregistered penny stock shares on
behalf of 13 clients without performing due diligence on the status of the shares The firm also allegedly failed
to probe suspicious trading by a Bahamas-based broker-dealer. Oppenheimer agreed to pay the fine without

admitting or denying Finra's allegations

in December. Finra fined COR Clearing LLC of Omaha, Neb.l $1 million over allegations that, for three years
beginning in 2009l the firm failed to establish and implement anii-money-laundering policies and for a time in
2012, its anti-money-laundering program had almost coilapsed. COR accepted the penalty without admitting or

denying the allegations

Both COR and Oppenheimer were required to hire independent consultants to monitor and evaluate their anti-
money-|aundering programs

Worid Trade Financiai Corp.l a San Diego-based brokerage firm, was the subject of a $250,000 fine after Finra
alleged it violated anti-money-laundering regulations by not setting up and enforcing supervisory procedures
From March 2009 to Augus12011, Worid Trade bought and sold 27.5 billion shares of a dozen different penny
stocks on behalf of one client. Those shares were unregistered and not eligible for an exemption from
registration requirements according to Finra. The transactions generated $61 million in proceeds for the client.
The business generated by those transactions was the lion’s share of Worid Trade's business

The firm accepted the fine without admitting or denying the allegations

The link between antl-money-laundering regulations involving omnibus accounts and penny stock trading is a
growing topic of conversation in the brokerage industry.

 

 

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Finra focusing on money-laundering violations - Deal Pipeline Page 4 of 5

"it is what everybody is talking about. and the recent Brown Brothers bust has really made it obvious that's
what Finra is worried about as well," said one brokerage firm executive.

The connection was brought into sharp focus by the SEC's recent lawsuit and emergency asset freeze order
against John Babikian, a Canadian national who the commission claims is behind the now defunct stock

promoter Awesome Penny Stocks.

At the SEC's request, the federal court in Manhattan froze assets belonging to Bablkian including two homes in
Los Angelesl farm and vineyard land in Oregon and a fractional interest in a corporate jet.

ln its lawsuit died last monthl the SEC alleged that Bablkian sold 1.3 million shares of coal mining company
America West Resources lnc. on Feb. 23l 2012, in 90 minutesl after first promoting the stock to 700.000
subscribers to Awesome Pen ny Stocks' e-maii newsletters He allegedly made $1.9 millionl selling the shares
through an omnibus account with Swiss bank Frankfurter Bankgesellschaft (Schweiz) AG maintained by Brown

Brothers

ln a set of Finra internal records from 2012 and 2013 obtained by The Deall the regulator said it has initiated
probes of suspicious trading activity involving offshore entities tied to pump and dumps in Toron lncl, U.S.
Highland inc., Bioflamex Corp., Goff Corp, and Marine Drive Mobile Corp. Those reports were furnished to
the SEC.

The offshore brokerage firms cited by Finra in those reports include Caiedonian Giobal. Caiedonian Bank Ltd.,
Caiedonian Securities Ltd., Clearwater Securities inc., Legacy Giobai Nlarkets SA, Argus Stockbrokers Ltd.l
CBH Compagnie Bancaire Heivethue SA, Bank Gutenberg AG. Sherman Capitall Rigi Capital and Verdmont

Capital SA.

The regulator obtained trading records regarding the omnibus accounts from Scottsdaie Capital, Brown
Brothers Vertical Groug, Knight Execution and Ciearlng Services LLCl OC Securities Inc. and Ascendiant
Capital l\/larkets LLC, according to the Finra records

Scottsdaie is already the subject of investigations by Finra. the SEC and the FBi pertaining to an unusual $34
million pump and dump involving a German company known as Biozoom inc., according to a person familiar
with the situation. Scottsdale's clearing agency and related entity, Salt Lake City-based Alpine Securities is

also a part of those probes

The nims have provided securities officials with documents pertaining to the Biozoom trades and shareholders
including those sought under a request from the SEC and Finra that employees turn overall personal notes
regarding Biozoom. Scottsdaie and Alpine were also forbidden from destroying any Biozoom records

The SEC filed a lawsuit last Juiyl claiming that a group of 10 Argentine nationals had opened brokerage
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Finra focusing on money-laundering violations - Deal Pipeline Page 5 of 5

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When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13 cents cutting
more than $300 million from Biozoom's market value.

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7. Person Who Served Papers:
a. MATTHEW ANDERSON

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San Francisco, CA 94103
Telephone (415) 626-3111
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b’. I declare under penalty of perjury under the laws of the State of NE WHAll/[PSHIRE and under thelaws

America that the foregoing is true and correct

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SUMMONS lN A ClVlL ACT|ON

Case Name: Scottsdaie Capital Advisors Corp., et al v The Deal, LLC, et al
Case Number: 216-2016-CV-00819

Date Complaint Filed: November 18, 2016
A Complaint has been filed against Wi||iam Meagher; The Deal, LLC in this Court. A copy of the
Complaint is attached

The Court ORDERS that ON OR BEFORE:
January 07, 2017 John Hurry; Scottsdaie Capital Advisors Corp. shall have this Summons
and the attached Complaint served upon Wi||iam Meagher; The Deal, LLC

by in hand or by leaving a copy at his/her abode, or by such other service
as is allowed by law.

January 28, 2017 John Hurry; Scottsdaie Capital Advisors Corp. shall file the return(s) of
service with this Court. Fai|ure to do so may result in this action being
dismissed Without further notice.

30 days after Defendant Wi||iam Meagher; The Deal, LLC must file an Appearance and Answer or
is served other responsive pleading form With this Court. A copy of the Appearance
and Answer or other responsive pleading must be sent to the party listed
below and any other party who has filed an Appearance in this matter.

Notice to Wi||iam Meagher; The Deal, LLC: lf you do not comply with these requirements you will
be considered in default and the Court may issue orders that affect you without your input.

Send copies to:

Scottsdaie Capital Advisors Corp. 7170 E |Vchona|d Drive #6
Scottsdaie AZ 85253
George R. Moore, `ESQ Devine l\/lil|imet & Branch PA

111 Amherst Street
l\/lanchester NH 03101

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November 23, 2016 W. Michael Scan|on
C|erk of Court

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NHJB-2678-S (10/23/2013)

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THE STATE OF NEW HAMPSHIRE

HILLSBOROUGH, SS. SUPERIOR COURT
NORTHERN DISTRICT Docket No.
Scottsdale Capital Advisors Corp.
and
John Hurry
v.

The Deal, LLC and William Meagher
COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW Plaintiffs Scottsdaie Capital Advisors Corp. (‘_‘SCA”) and l olin Hurry
(“Mr. Hurry”) (collectively “Plaintiffs”) with Complaint against Defendants The Deal, LLC

(“The Deal”) and William Meagher (“Mr. Meagher”) (collectively, “Defendants”) and shows the

Court the following:
PARTIES
1. Plaintiff SCA is an Arizona corporation, having its principal place of business at

7170 E. McDonald.Dr. #6, Scottsdale, Arizona 85253. At all relevant times, SCA Was and is a
securities broker dealer engaged in the business of holding and trading in securities and was and

is a registered member firm of the Financial lndustry Regulatory Authority, Inc. (“FINRA”), a

private corporation which regulates the securities industry.

2. Plaintiff Mr. Hurry is an individual residing in Glenbrook, Nevada who maintains
a business office in Glenbrook, Nevada. At all relevant times, Mr. Hurry was and is an executive

officer of SCA. Mr. Hurry and SCA do substantial business in the micro-cap and small cap

securities sector.

3. On information and belief, Defendant The Deal is a Delaware limited liability

company, having its address and principal place of business at 14 Wall St., 15th Floor, New

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York, NY 10005. On information and belief, The Deal publishes print and electronic
publications concerning the financial sector, including T he DealFlow Report (“DealFlow”) and
The Deal Pipeline (“Pipeline”). On information and belief, The Deal’s publications are
physically and electronically distributed to subscribers by The Deal and its parent/affiliate,
TheStreet.com. On information and belief, The Deal’s publications, including DealFlow and
Pipeline, enjoy a substantial circulation, especially to members of and those with an interest in
the financial sector (especially the micro-cap and small cap securities sector), and are distributed
to paid subscribers in NeW Hampshire.

4. On information and belief, Defendant Mr. Meagher is an individual residing in

California who is employed as a Writer by The Deal and TheStreet.com.

 

JURISDICTION AND VENUE
5. This Court has subject matter jurisdiction over this action pursuant to N.H. R.S.A.
49 1 :7.
6. The Court has personal jurisdiction over Defendants because they committed

tortious acts in New Hampshire. On information and belief, Defendants publish online content
for distribution to paid subscribers Within the state of New Hampshire, thereby availing

themselves of New Hampshire law and the benefit of conducting activities in the forum state.

7. New Hampshire has a strong interest in this litigation, as the tortious acts caused
injury in New Hampshire.
8. Having the case heard in New Hampshire provides the Plaintiffs With an effective

and convenient forum to obtain relief, and the acts of the Defendants are intertwined, such that

interstate judicial efficiency is served by avoiding multiple lawsuits.

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FACTUAL BACKGROUND

9. On December 6, 2013, an article Written by Mr. Meagher appeared in Deal
Pipeline entitled “FBI, securities officials investigating Scottsdale Capital, Alpine Securities,
source says” (“December 6 Article”). §§ Exhibit A. The December 6 Article falsely stated that
Plaintiffs and their affiliated companies Were being criminally investigated and being
investigated by securities regulators. The December 6 Article further falsely stated that Plaintiffs
engaged in favoritism towards shareholders of a company named Biozoom, including by
allowing them to trade in violation of SCA policies and giving them special perks. The
December 6 Article also falsely stated that Plaintiffs ignored “red flags” With respect to Biozoom
transactions

lO. On March 20, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled “SEC requests default judgment in $34M Biozoom pump-and-dump case” (“March 20
Article”). § Exhibit B. The March 20 Article falsely stated that Plaintiffs and their affiliated
companies were being investigated by the FBI, and were the targets of criminal and securities
investigations The March 20 Article also falsely stated that Plaintiffs Were involved in a “pump
and dump” scheme with Biozoom. (According to Wikipedia, “‘[p]ump and dump’ (P&D) is a
form of microcap stock fraud that involves artificially inflating the price of an owned stock
through false and misleading positive statements, in order to sell the cheaply purchased stock at a
higher price”.) §e_e https://en.wikipedia.org/wiki/Pump_and_dump.

ll. On April 16, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled “Finra focusing on money-laundering violations” (“April 16 Article”). § Exhibit C.

The April 16 Article repeated the false claim that Plaintiffs and their affiliated companies Were

under FBI investigation.

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12. The statements in the December 6, March 20, and April 16 Articles are false and
defamatory. Mr. Hurry and his companies including SCA, enjoy an excellent reputation, and at
all times conduct themselves in accordance With high ethical standards, and had not been under
any criminal or regulatory investigation at the time that Mr. Meagher’s articles Were published.
Plaintiffs Were not involved in any “pump and dump” scheme and never gave special treatment
to Biozoom shareholders

13. The defamatory statements made by Defendants have substantially hanned
Plaintiffs’ business relationships Plaintiffs and their affiliated companies have seen brokerage
and bank accounts closed, longstanding banking relationships severed, proposed business
transactions halted, and investments hampered, delayed, or declined as a result of the defamatory
statements made by Defendants In addition to causing actual damages the defamatory

statements constituted defamation per se because they were the type that would tend to injure

Plaintiffs in their trade or business

COUNT I ~ DEFAMATION

14. Plaintiffs incorporate by this reference Paragraphs 1 through 13 of this Complaint

as though fully set forth herein.

15. Defendants have published false and defamatory statements of fact about

Plaintiffs

16. The false and defamatory statements were made without the privilege to do so and

concern the personal, professional and business reputations of SCA and Mr. Hurry,

17. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

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COUNT II - INVASION OF PRIVACY, FALSE LIGHT

18. Plaintiffs incorporate by this reference Paragraphs 1 through 17 of this Complaint
as though fully set forth herein.

19. Defendants published private information that portrayed Plaintiffs in a false light.

20. The false light in which Defendants placed Plaintiffs Would be highly offensive to
a reasonable person.

21. Defendants knew that the assertions they published Were false and/or acted in
reckless disregard as to the falsity of the publicized matter and the false light in which Plaintiffs
would be placed by those assertions

22. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT III - INTENTIONAL INTERFERENCE WITH CONTRACTUAL
RELATIONS

23, Plaintiffs incorporate by this reference Paragraphs 1 through 22 of this Complaint

as though fully set forth herein.

24. Defendants knew that Plaintiffs, being securities broker dealers engaged in the
business of holding and trading in securities had business relationships Which Would have been
completed had it not been for Defendants’ unlawful acts

25 . Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by
intentionally and unj ustiiiably interfering With their actual business relationships

26. On information and belief, as a direct result of Defendants’ publication of

defamatory statements about Plaintiffs Plaintiffs have lost business relationships and/or

Plaintiffs’ existing business relationships have been harmed.

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27. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT IV - TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
ADVANTAGE

28. Plaintiffs incorporate by this reference Paragraphs 1 through 27 of this Complaint
as though fully set forth herein.

29. Defendants knew that Plaintiffs, being securities broker dealers engaged in the
business of holding and trading in securities, had a reasonable expectation of entering into valid

business relationships which Would have been completed had it not been for Defendants’

unlawful acts
30. Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by

intentionally and unjustifiany interfering With their prospective business relationships

31. On information and belief, as a direct result of Defendants’ publication of
defamatory statements about Plaintiffs, Plaintiffs have lost business relationships and/or

Plaintiffs’ prospective business relationships have been harmed.

32. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that Will be established at trial.

WHEREFORE, Plaintiffs SCA and Mr. Hurry, respectfully request:

A. An award of general, special, and enhanced compensatory damages within the

jurisdictional limits of the Court;

B. An injunction enjoining the filrther publication of the false statements in

Defendants’ articles;

C. An award of attomeys’ fees in connection with this matter;

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D. An award of interest and all costs incurred in connection with this matter; and

E. Such other and further relief as may be appropriate based on the allegations

herein.
JURY DEMAND

PLAINTIFFS SCOTTSDALE CAPITAL ADVISORS CORP. AND JOHN HURRY

DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
Respectfirlly submitted,

SCOTTSDALE CAPITAL ADVISORS CORP.
AND JOHN HURRY

By their attorneys
DEVINE, MILLIMET & BRANCH, P.A.

Dated: /////Q///’l§ By: /%;/%'M
/ /

Geofge R. Moofe, Esquire
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HARDER, MIRELL & ABRAMS, LLP

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Charles J. Harder (CAB # 184593)
Pro Hac Vice to be filed

Jordan Susman (CAB # 246116)
Pro Hac Vice to be filed

132 south Rodeo Drive, 4"‘ Floor
Beverly Hills, CA 90212
424-203-1600

Dated: //%f///‘( By:
/ /

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

 

    

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FBl, securities officials investigating Scottsdaie
Capital, Alpine Securities, source says

By Bill Meagher Updated 09:05 PM, Dec-06-2013 ET

The FBl, the Securities and Exchanqe Commission and the Financiai lndustry Regulatory Authority have
opened investigations into the Involvement of Scottsdaie Capital Advisors and Alpine Securities in the trading
of Biozoom inc., according to a person familiar with those investigations

investors in Biozoom lost some $300 million after the SEC halted trading in the stock in June. The commission
cited "a lack of current and accurate information" about the stock and suspicions that the company and some
shareholders may have illegally sold unregistered shares to the public.

Before it allowed trading in Biozoom to resume in Ju|y. the SEC obtained an emergency order from the U.S.
District Court in l\/lanhattanl freezing almost $16 million in cash in U.S. brokerage accounts.

Another $17 million in trading revenues connected to sales of Biozoom shares was wired overseas before the
court order, the SEC claimed in its court filing. Another $8 million in wire transfers requested by Biozoom
shareholders were halted by the broker-dealers before they could go overseas

The SEC also ordered the broker-dealers involved in the transactions Arizona-based Scottsdaie Capital, Salt
Lake City-based Alpine and Legend Securities lnc. of New York, to preserve all of their records connected to

the Biozoom transactions

The regulator charged eight Argentine citizens with illegal sales of unregistered shares of Biozoom. The
complaint also named two other Argentines Who owned shares of Biozoom but did not sell them prior to the

asset freeze. -

Biozoom, which lists Kassell Germany, as its headquarters purports to manufacture a "biofeedback device"
that consumers can use to monitor and analyze data related to their health. The company went public in
February through a reverse merger with registered shell company Entertainment Art lnc. and raised $1.15
million in a private placement to an investor whose identity was not disclosed

The stock was the subject of an unusual promotion four months later, Recommendations for Biozoom stock
appeared in at least 13 e-mail newsletters, according to Hotstocked.com, a website that tracks stock
promotions Legal disclaimers that accompanied the promotions claimed that no compensation had been paid

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says --Deal Pipeline

for the stock-friendly hype. Legai disclaimers in penny stock newsletters often identify the companies that pay
for stock-promotions and sometimes provide details of the compensation, as is required under securities iaw,

Some stock promotion budgets run as high as $3 million.

One of the promotions claimed that Biozoom's l‘hand held device for the non-invasive transdermal analysis of
antioxidants and other biomarkers in the human body... replaces expensive, time consuming and invasive

blood tests."

"Future applications future roll-out markets and applications are even more impressive," another newsletter
stated. "Reievant biomarkers can and will be identified and analyzed for things such as choiesteroi, alcoholl
various illegal drugs, smoke, poisons, and blood pressure - to name a few. The unit is being further developed
to measure blood sugar ievels, tapping into a staggering $220 billion a year diabetes market in the U.S. and
350 million people with diabetes around the world."

Biozoom stock was also promoted in an unusual advertising campaign that made use of mainstream media
outiets. including the New York Times and USA Today. in Junel ads that took up most of a full page were
placed in those newspapers that ostensibly promoted a London-based publication called Giobai Financiai
insights But, while the ads included subscription information and other details about the publicationl most of
their space was taken up with the magazine's recommendation of Biozoom stock.

A full-page black and white ad in USA Today could have cost $125,000l according to information that the
newspaper distributes to advertisers A similar New York Times ad would run $80,000 to $100,000, according

to a newspaper spokesperson.

Both ads featured a headline that readl "innovative Technology Company invents Real 'Star Trek' Medical
Scanner that Diagnoses Patient Health in Seconds.ll

A recommendation for Biozoom stock also featured prominently in an advertisement for a newsletter called
TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which was distributed
May 16, the day that Biozoom began trading at $1.10. The report valued the shares at $10.30.

Biozoom started trading with a thin volume of about 10,000 shares a day. The $1.10 share price implied a
market value of $108.6 million for the company.

But when the promotion began to pick up speed, the shares rose to $1.50 on their way to an intraday high of
$4.50 and a market cap of $421.5 million. Trading volume jumped as high as 11.7 million shares

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13 centsl giving
Biozoom a market capitalization of just $9.56 million. investors lost more than $300 million.

Finra and SEC officials declined to comment for this story. An FB| spokesman would neither confirm nor deny
the existence of a criminal probe tied to Biozoom trading.

But a source who has spoken to investigators said the investigations are ongoing. The probes by Finra and the
SEC began in May, prior to the trading halt.
The brokerage firm Scottsdaie Capital is owned by Scottsdaie Capital Advisors Holdings LLC and the Hun'y

Family irrevocable Trust. Alpine is owned by SCA Clearing LLC. Both Scottsdaie and Alpine are controlled by
John Hurry, who is a director of both companies Hurry's wife Justine is a director with Scottsdaie and a

minority owner.

The horne pages of both Scottsdaie Capitai‘s and Alpine's websites feature the same motto. "At the top of the
Smali Cap Market," along with a photo of a mountain peak. For Scottsda|e, it is a desert mountain. For Alpinel
it's a snow capped peak.

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

The SEC complaint alleges that six of_the shareholders named in the action, Magda|ena Tavella, Adriana
Bagattin, Danieia Goidman. Mariano Graciarena, Femando Loureyro and Mariano Ferrari, opened accounts at
Scottsdaie between May 10 and June 14. The other shareholders named by the SEC _ Andres Ficicchia,
Gonzaio Blaya, Luoia Hernando and Cecilia De Lorenzo _ opened trading accounts at Legend Securities from
January through Marchl according to the SEC. Ficicchia also had an account at Scottsdaie.

in ail, the Biozoom shareholders deposited 20.1 million shares in the trading accounts which represented 100%
of the share float that did not carry a trading restriction. Those shares represented about 33% of the total

shares in the company.

None of the Biozoom shareholders contacted by e-mail, responded to a request for comment from The Dea|.

Legend Securities is owned by Stocktrade Network inc., Chris Cacace, Salvatore Caruso, Anthor'iy Fusco and
Mark Suiavkal according to Finra records

The SEC claims that when the Argentine shareholders opened their trading accounts at Scottsdaie and
Legend, they provided documents and sales receipts purporting to show that they had bought their shares
between Feb. 19 and March 15 from the original shareholders of shell company Entertainment Art. But the
SEC states in its complaint that all of tire Entertainment Art shareholders sold their shares to Medford Financiai
Ltd. in 2009. Medford in turn was purchased by Le Mond Capital, a British Virgin islands-based firm. for
$430,000 last year. Le Mond was controlled by Sara Deutsch, who became CEO of Entertainment Art.

When the reverse merger took place in February, Deutsch paid $50,000 and 39 million shares to complete the
transaction with four German entities for intellectual property that became the basis for Biozoom. The deal left
her with 20.1 million shares. Deutsch became a director end assistant secretary for Biozoom, and in doing so,

became what the SEC considers to be a control person.

The commission alleges that the shares Deutsch controlled were the shares that were actually distributed to
the Argentine shareholders and that the stock sale agreements they used to help open the trading accounts at
Scottsdaie and Legend were fakes. Since Deutsch was a control person, any shares she distributed would be

restricted and not free trading.

Deutsch ran a restaurant in Buenos Aires along with Magda|ena Tavella called Magda|ena‘s Partyl according
to the SEC oompiaint. Tavella was one of the Biozoom shareholders who traded through Scottsdaie.

Miiler Piace, N.Y.-based securities attorney Randail Gouiding supplied a legal opinion for ali of the Biozoom
shareholders based in part on the stock sale documents portraying the transactions with original
Entertainment Art shareholders the SEC claimed in a court filing requesting the asset freeze. His opinion letter
stated that the share certificates could be deposited without restrictions based on an exemption from
registration provided by Rule 144 of the Securities Act. He said that the sellers were not affiliates of the
company and had held the shares for more than four years and that the account holders were not individually
or collectively the beneficial owner of more than 10% of the common shares of the company.

On June 19, Gouiding e-maiied the general counsel for Legend saying, ll| hereby withdraw all of my opinions
issued for the securities of Biozocm, formerly Entertainment Art. Be advised that none of these opinions should

be relied upon," according to the SEC

San Antonio-based securities lawyer David Wise, who had supplied a similar legal opinion letter to Scottsdaie
for Tavella and Goidman on May 20, withdrew his letter June 26. Wise sent an e-maii to Scottsdaie that in part
read, "it has been brought to our attention that the SEC recently suspended trading in Biozoom. lt has also
been brought to our attention that Tavella and Goidman may have provided inaccurate or misleading
information and documentation to Scottsdaie and to this firm."

A number of factors make it appear that the Biozoom shareholders were connected in an organized effort.

 

 

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FBl, securities officials investigating Scottsdaie Capital, Alpine Securitics, source says - Deal Pipeline

A person who has spoken with investigators said that the six shareholders who held Scottsdaie accounts
opened them within the same week. The SEC complaint states that all of the shareholders live in Buenos

Aires.

A person familiar with the investigative documents said the handwriting on the account applications for the
Biozoom shareholders was the same, the answers to questions on their foreign due diligence packages were
very similar and they held accounts at the same banks in Cyprus, Switzerland and Panama.

Moreover, the e-mail addresses they furnished for their trading accounts were opened within a week of each
other, according to Whosis.oom, a website that furnishes information on domain registrations The addresses
are also similarl all containing the account holders' last names

The shareholders with accounts at Legend were also from Buenos Aires.

According to a declaration filed with the court by Ricky Sachar, an assistant director of enforcement for the
SEC, all of the shareholder's e-mail accounts were opened with the same regional lnternet registry. All of the
Biozoom trades were made from May 16 to June 17 and no other stocks were deposited or traded through the
accounts at either Scottsdaie or Legend. A|so, all of the Biozoom trades were ordered using either e-mail or

instant messaging accounts.

"These shareholders were brought in for this. lt's as simple as that,” said a person with knowledge of the
investigations "They are retired teachers1 a deii owner, but they come in with millions of shares of stock. They
only trade Biozoom and they are directing trades using traders' |ingo, telling them which market makers to use
for the trades? Come on. They were straw men for whoever is behind this whole thing."

That same person said the Biozoom shareholders who opened accounts with Scottsdaie enjoyed perks that
were not available to other Scottsdaie clients.

Typical clients pay 4% per transaction, or 4.5% if their transactions are cleared through Alpine. Longtime
clients who do a heavy volume of business may occasionally receive a discount of one percentage point. But

Biozoom clients paid just 2%, the person said.

They were also allowed to place orders using instant messaging, which is generally forbidden under
Scottsdale's internal policies. A person with knowledge of Scottsdale's operations said the policy was changed
for the Biozoom shareholders by the broker-dealer's management after Biozoom shareholders complained.

A standing Scottsdaie policy only allows clients to wire funds from their accounts to banks in the U.S. or to
institutions in the country where they live. But the person said that Biozoom shareholders were allowed to send
funds to Cyprusl Switzeriand, Panama and Belize, despite the fact that all of them live in Argentina and all of

them had signed documents agreeing to abide by Scottsda|e's wire policy.

The same person said that several red tiags were raised regarding the Biozoom trades at Scottsdale: They
were large trades in a microcap stock with relativer little liquidity. Also, foreign nationals were wiring large
sums out of the U.S.l raising potential concerns about money laundering. Stil|, no follow-up occurred at the

broker-dealerl the person sald.

Finra, who has worked with the SEC on the probe, has had several "on-the-reoor " conversations with
Scottsdaie staff regarding the trading of Biozoom shares. the process by which the accounts were opened for
the Argentine nationals and how assets were moved offshorel according to a person who has spoken with
investigators. "OTRs", as they are known in the brokerage industryl are sessions in which Finra staff ask
specific questions of registered representatives who must answer them or face disciplinary actions.

A source who has spoken to investigators said Scottsdaie staff members who have talked with Finra regarding
Biozoom trades are Timothy Scarpino, Tim Diblasi, Liz Amdt. Henry D|ekmann, Jay Noiman, Michael Cruz,
Adam Fiandaca and Ted Ashton.

 

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

Finra also talked with John Hurry, that same source sald.

Scarpinol who processed the Argentine accounts connected to the Biozoom trades, resigned from his position
at Scottsdaie. He declined comment for this story. Ashton. who was a compliance analyst, also is no longer
with the firm. Efforts to reach him failed .

Amdt is the office manager and oversees trading. Noiman and Diekmann are in compliancel and Diblasi is
chief operating officer. Cruz is chief counsei, and Fiandaca handles wiring of funds.

Diekmann denied he participated in the OTRs with Finra in a very brief phone interview.

None of the other Scottsdaie staff questioned by Finra returned phone calls from The Deal seeking comment
regarding the OTR's about Biozoom.

Geraid Russello, a partner at the law Hrm of Sidiey Austin LLP in New York, said that Scottsdaie and Alpine
would have no comment regarding Biozoom trading or the investigations by Finra, the SEC and the FBl.
Russel|o is a securities lawyer and former SEC enforcement branch chief.

Richard Kirby, a partner with K&L Gates LLP in Washlngton who represents Legend Securities, said he does
not know if the SEC is concerned with how Legend conducted itself with regards to the Biozoom trades, but he

said that Legend had notfiied any notice With Finra regarding an SEC investigation.

Kirby also said that Legend alerted the SEC to its concerns regarding Biozoom and that the broker-dealer had
acted on its own to freeze accounts tied to the Argentine nationals prior to the SEC action Juiy 7.

While Legend did complete a June 13 $600,000 wire transfer for Luciana Hernando to Hellenic Bank Pubiic
Co. in Lemesos. Cyprus. it refused Hernando's request to move $2 million to the same bank on June 17.
Legend also refused a wire request from Blaya June 14 to transfer almost $3.5 million to a bank in Geneva,

according to the SEC complaint

Meanwhi|e, John Hurry, who controls both Scottsdaie and Alpine, is in negotiations to buy Salt Lake City-based
broker-dealer Wi|son-Davis & Co., according to a person with knowledge of the dea|.

 

Representatives of Wiison-Davis did not return phone calls from The Deal seeking comment. Scottsdaie

representatives declined to comment.

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SEC requests default ludgment in $34l\/i Biozoom pump-and-dumo case By Bill Meagher Updated 04:10
PM, iVlar-20-2014 ET

The Securities and Exchange Commission plans to request a default judgment against the 10
Argentine residents who have been named as defendants in the $34 million Biozoom Inc. pump-

and-dump case after two law firms representing the Argentines asked to withdraw from the case.

The SEC filed a letter Tuesday, March 18, with Judge Naomi Buchwald in the U.S. District
Court in Manhattan, stating that it planned to request the judgment because the defendants had
failed to respond to the lawsuit by couit ordered deadlines

F our days earlier, attorney Marc Agriifilo had informed the court that his firm, New York-based
Brafman & Associates PC, would withdraw as counsel to the Argentines

Brafman is the second firm that has represented the group charged with selling 203 million
shares of Biozoom without proper registration In September, McLauGhlin & Stern LLP also

Withdrew.

 

Brafman is a high-profile criminal defense firm that has counted crime boss Salvatore "Sammy
the Bull" Gravano, rapper Sean Combs and former International Monetary Fund chief
Dominique Str'auss-Kahn among its clients.

 

Agnifilo declined to comment on the firm's withdrawal from the Biozoom case. In his letter to
the court, he said that Braiinan had been told by the Argentines that it would be retained, but that

a retainer agreement was never signed.

Those named as defendants are Magdalena Tavella, Andres Horacio Ficicchia, Gonzaio Garcia
Blaya, Lucia Mariana Hemando, Cecilia De Lorenzo, Adriana Rosa Bagattin, Danieia Patricia
Goldman, Mariano Pablo Ferrari, Mariano Graciarena and Fernando Loureyro.

None of them responded to e-mails requesting comment.

A person familiar with the case said that Buenos Aires-based lawyer Juan lgnacio Prada has been
seeking representation for the group. Plada did not respond to a request for comment.

Patrick Bryan, assistant chief litigation counsel for the SEC, said the commission will file
paperwork to pursue the default judgment in the next month. He declined to comment further.

The SEC filed the lawsuit last July, claiming that the Argentines had opened brokerage accounts
at Arizona-based Scottsdale Capital Advisors and New York-based Legend Securities Inc.,
depositing shares and providing paperwork stating that the stock was purchased from
sharehoiders in Entertainment Arts Inc., the registered shelf company that had merged with
Biozoom to bring it public in February 2013.

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Biozoom, which lists Kassel, Germany, as its headquarters claims to produce a "biofeedback
device" that constuners can use to monitor and analyze data related to their health.

In its complaint, the SEC alleges that the stock purchase agreement documents were false and
that the Entertainment Art investors had sold all of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members
of the group were not the real investors, but instead Were simply nominees, None of the
Argentines listed investor as their profession, and none of them deposited or traded in any other

stocks, according to a person familiar with the investigation.
The Argentine group is said to have included retired teachers and the owner of a delicatessen.

Scottsdaie Advisors is said to have given the Biozoom shareholders perks that were not available
to other clients. They submitted trade orders by e-mail or instant messaging, which the firm did
not allow for most clients. The Biozoom shareholders were also charged commissions of just

2%, while other clients paid 4% to 4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in 5
Cyprus, Switzerland, Panama and Belize, despite a standing policy at Scottsdale that usually only
allows clients to wire funds to U.S. banks or to institutions in the country where they live.

The SEC halted trading in Biozoom on June 25 and, in July, asked the court for an emergency
order freezing the defendants' assets. That kept 816 million in stock sale proceeds in the U.S.
Another $ 17 million had already been wired overseas prior to the freeze.

The SEC alleges says that, from March 2013 through June, the Argentines received 20 million
shares of Biozoom, which was about one-third of the company's stock. In May, they sold 14

million shares reaping almost $34 million.

The shares were sold into a promotion that started May 16, as the company issued a series of
press releases, and continued into June. Biozoom's share price tr‘ipled, reaching an intraday high

of $4.50, implying a valuation of$421.5 million.

As of June 30, Biozoom owned assets valued at only $1.05 million, according to its last filing
with the SEC. In the quarter ending June 30, the company had no revenue and a loss of

$328,671.

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13
cents, cutting more than $300 million from Biozoom's market value.

The promotion was unusual in the form it took. It included advertising in mainstream media
outlets, including the New York Times and USA Todav. In June, ads that took up most of a full
page were placed in those newspapers that ostensibly promoted a London-based publication
called Global Financiai Insights. But, while the ads included subscription information and other

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details about the publication, most of their space was taken.up with the magazine's
recommendation of Biozoom stock.

Both ads featured a headline that read, "Innovative Technology Company Invents Real 'Star
Trek' Medical Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also featLu'ed prominently in an advertisement for a
newsletter called TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which
was distributed May 16, the day that Biozoom began trading at $1.10. The report valued the

shares at $10.30.

The FBI and the Financiai lndustry Regulatory Authority have been investigating the
involvement of Scottsdale and Alpine Securities, its Salt Lake City-based clearing tirm, in
connection With the Biozoom stock sales since May, according to a person with knowledge of

the probe.

The firms have provided securities officials with documents pertaining to the Biozoom trades
and shareholders, including those sought under an unusual request from the SEC and Finra that
employees turn over all personal notes regarding Biozoom. Scottsdaie and Alpine were also

forbidden from destroying any Biozoom records.

Finra has scheduled an audit of Scottsdale at the end March, according to a person familiar with
the investigation.

Representatives of the SEC, Finra, Scottsdale and Alpine declined to comment. An FBI
spokesman said the agency will neither confirm nor deny the existence of an investigation.

Read more: http://pipe|ine.thedeal.com/tdd/VieWArtic|e.dl?id=10007955861#ix222wb0pc:va

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Law

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Finra focusing on money-laundering violations

By Bill Meagher Updated 07:00 PlVl, Apr-16-2014 ET

On March 10, the staff at Scottsdaie Capital Advisors was stanled when their receptionist called out into the
office, "Flnra is here!"

While representatives from the Financiai industry Regulatory Authority Were expected at the end of the month
for a scheduled two-week exam, this visit had nothing to do with that appointment. Rather. the investigators
asked for files relating to overseas clients and omnibus accountsl which are owned in the names of other

brokerage frrms, according to a person familiar with the raid.

That person said that a group of Finra investigators hauled away copies of documents regarding omnibus
accounts at Scottsdaie that included those owned in the names of Belize-based Titan international Securities .
lnc. and Cayman islands-based Caiedonian Giobai Financiai Services inc., and a Cayman account linked to

Scottsdaie owner John Huriy.

Geraid Russello. a partner with the law firm of Sidiey Austin LLP who represents Scottsdale, declined to
comment. Representatives of Titan lnternational did not return a phone call seeking comment.

Caiedonian Giobai CEO Kobi Dorenbush said his firm had not been contacted by any U.S. regulators.

The action at Scottsdaie's Arizona offices came a month after brokerage tirm Brown Brothers Harrlman &
gc_)_. was fined a record $8 million by Finra in a settlement over alleged violations of anti-money laundering
regulations Finra also levied a $25,000 fine and a one-month suspension from the securities industry against
Harold Crawford. the New York-based firm's former anil-money-laundering compliance officer.

Finra said thatl from January 2009 to June 2013l Brown Brothers executed trades or delivered securities in
transactions involving at least 6 billion penny stock shares, with many ofthose transactions made through
omnibus accounts on behalf of clients that the iirm could not identify. Some of the $845 million in proceeds
were allegedly wired to Switzerland, Guernsey and Jersey, countries with strong bank secrecy |aws. Those
locations and transactions should have raised red flags with Brown Brothers and prompted the tirth file
suspicious activity reports under federal anti-money¢laundering regulations,. according to Finra.

Brown Brothers agreed to the settlement without admitting or denying Finra's tindlngs. The finn also issued a
statement saying li had changed its procedures for handling low-priced securities and for surveillance of

 

 

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activity in low-priced securities to "mltlgate a possible recurrence of this matter." Brown Brothers also said that
the activity covered by the settlement represented a small part of its investor sen/lees business and did not

involve its investment management or private banking business.

Some violations of anti-maney-|aundering regulations have been closely linked with stock manipulation and
pump-and-dumps of microcap stocks. both of which have been identified as priority areas for enforcement

action by Finra and the Securities and Exchange Commlssion.

Finra's action against Brown Brothers has gotten the attention of broker-dealers. antl-money laundering
consultants and lawyers for two reasons. The fine. the largest ever handed down for an anti-money-laundering
violation by Finral has served notice that the regulator is serious about nrms cleaning up their antl-money-
laundering programs And the fact that Crawford was fined for the company's alleged failure to create an
effective anfi-money-laundering program is seen by some as unfalr.

"Finra has served notice that there is personal responsibility for a company falling to implement an adequate
program." said Kevin Petrasic. a partner in the Washington office of law firm Paul Hastlngs LLPl whose

practice lncludes anti~money-laundering litigation

"lt is a no-win situation and a bit draconian," he said. "AML compliance officers are in a barbeli on this. They
want to put a program ln place, and Finra expects that program to work, but sometimes the senior
management doesn't want to pay for the resources, so they choose not to implement the program. and the
AML officers are in the middle between management and th'e regulators. Who wants thatjob?"

ln Crawford's case, he went to Brown Brothers' management and proposed changes that would affect the anti-
money-laundering programl according to documents that Finra staff filed in their administrative action. ln
November 2011, Crawford and other Brown Brothers compliance staff are said to have recommended that the
firm stop executing trades for penny stocks belowa certain threshold value. They are also said to have
recommended that the firm require omnibus account clients that wished to offer brokerage services to'their

own customers to set up a disclosed subaccounts.
Brown Brothers did not change how lt handled penny stocks until last June. according to Finra.

Omnibus accounts are often held in the name of foreign iinancial intermediaries who, in turn. are handling
stocks for clients that might not be known to the U.S. broker-dealer. Finra has told broker-dealers that it is
important to knowl who are the actual investors behind the omnibus accounts.

Anti-money laundering regulations are designed to keep money made in illegal activities from being made to
look as if it is the product of legitimate endeavors With Finra, they center on Rule 3310. lt requires each
brokerage firm to implement a compliance plan that is approved by a member of senior management in writing.
The plan must be designed to detect and assure the reporting of suspicious transactions The plan must also
comply with the Bank Secrecy Act and include an annual independent compliance test. Flrms are also required
to identity to Finra an individual or group responsible for the day-to-day operation of the anti-money-laundering

pl'Og |"HIT!.

Each year in January, Finra issues its Regulatory and Examination Priorities Letter which details issues where
the regulator plans to devote resources. in 2012. the letter named microcap stock fraud as an enforcement

priority.
"As a part of their anti-money laundering responsibilitiesl member firms are obligated to monitor suspicious
activity and to file Suspicious Activity Reports where warranted." the 2012 letter stated.

Last year, efforts against money laundering received their own paragraph in the letter.

"Finra examiners continue to focus on AML compliance. particularly affirms with higher-risk business models
due to their clientsl products and service mix or location in which they operate."

 

 

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This year. Finra doubled the space in its letter devoted to efforts against money laundering. The regulator said
it planned to focus on institutional business, as well as a trend of broker-dealers not pursing the identities of
some shareholders in transactions disposing of large volumes of low-priced stocks.

"l think what is going on is obvious," said a fenner Finra official who now consults on anti-money-laundering
issues. "Finra feels like these regulations have been on the books for what, 11 . 12 years? The firms have had a
chance to put AML programs in placel hire good people, and still there are problems. So Finra jumps the fines
to get their attention. They are saying, lWe are serious and unless you take care of this. it is going to cost you
some real money."'

Paul Tyrrell, of counsel in the Boston office of law firm Sidiey Austin LLP, said that some in the brokerage
industry have been rattled by Finra's targeting of individuals for enforcement of anti-money-laundering rules.

"Where is the line being drawn?" he said. "l don't know and nobody else does either. What we are seeing in the
[anti-money-laundering] exams is that Finra is being more robust, running it down to the end. They are asking
what you did, and when you did it, and people are worried that Finra is now looking at AML ofiicers. branch

managers and even individual representatives."

For example, in March 2013, the regulator accused James F’iilal a registered representatives ofAmerlprise
Financiai Services lnc.l of failing fo report red flags raised by penny stock trades in 26 of his client accounts
and failing to meet face-to-face with 59 of his clients to verify their identities before opening their accounts. His
actions allegedly violated Ameriprise's anti-money-laundering procedures Finra suspended him for three

months and fined him $15,000.
Finra fried 36 anti-money-laundering actions last year. down from 45 in 2012 and 38 in 2011 . The regulator did
not make anyone available to comment forthis story.

Among its actions was a $1.4 million fine against Oppenheimer Holdings lnc. last August for alleged
violations that included a failure to conduct due diligence on foreign financial intermediaries Finra claims that

from August 2008 through September 2010, Oppenhelmer sold 1 billion unregistered penny stock shares on
behalf of 13 clients. without performing due diligence on the status of the shares. The firm also allegedly failed
to probe suspicious trading by a Bahamas-based broker-dealer. Oppenheimer agreed to pay the fine without '

admitting or denying Finra's allegations

in December, Finra fined COR Clearing LLC of Omaha, Neb.l $1 million over allegations that, for three years
beginning ln 2009, the firm failed to establish and implement anti-money-laundering policies and for a time in
2012, its anti-money-laundering program had almost collapsed . COR accepted the penalty without admitting or

denying the allegations
Both COR and Oppenheimer were required to hire independent consultants to monitor and evaluate their anti-
money-launderlng programs.

Worid Trade Financiai Corp., a San Diego-based brokerage tirm. was the subject of a $250,000 fine after Finra
alleged it violated anti-money-laundering regulations by not setting up and enforcing supervisory procedures
From March 2009 to August 2011l Worid Trade bought and sold 27.5 billion shares of a dozen different penny
stocks on behalf of one client. Those shares were unregistered and not eligible for an exemption from
registration requirements, according to Finra. The transactions generated $61 million in proceeds for the client.
The business generated by those transactions was the lion’s share of Worid Trade's business

The firm accepted the fine without admitting or denying the allegations

The link between anti-money-laundering regulations involving omnibus accounts and penny stock trading is a
growing topic of conversation in the brokerage industry.

 

 

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"it is what everybody is talking about, and the recent Brown Brothers bust has really made it obvious that's
what Finra is worried about as well." said one brokerage firm executive.

The connection was brought into sharp focus by the SEC's recent lawsuit and emergency asset freeze order
against John Bablkian, a Canadian national who the commission claims is behind the now defunct stock

promoter Awesome Penny Stocks.

At the SEC's request` the federal court in Manhattan froze assets belonging to Babn<ian including two homes in
Los Ange|esl farm and vineyard land in Oregon and a fractional interest in a corporate let.

in its lawsuit filed last monthl the SEC alleged that Bablkian sold 1 .3 million shares of coal mining company

America West Besources lnc. on Feb. 23, 2012, in 90 minutesl after first promoting the stock to 700,000
subscribers to Awesome Penny Stocks' e-maii newsletters. He allegedly made $1.9 million. selling the shares

through an omnibus account with Swiss bank Frankfurter Bankgesellschaft (Schweiz) AG maintained by Brown
Brothers.

in a set of Finra internal records from 2012 and 2013 obtained by The Deall the regulator said it has initiated
probes of suspicious trading activity involving offshore entities tied to pump and dumps in Toron inc., U.S.
High|and inc., Bioflamex Corp., Goff Corp. and Marine Drive Mobile Corp. Those reports were furnished to
the SEC.

The offshore brokerage firms cited by Finra in those reports include Caiedonian Giobail Caiedonian Bank Ltd.,
Caiedonian Securities Ltd., Ciean~ater Securities lnc.l Legacy Giobai Markets SA, Argus Stockbrokers Ltd..
CBH Compagnie Bancaire Helvethue SA, Bank Gutenberg AG, Sherman Capital, Rigl Capital and Verdmont
Capital SA.

The regulator obtained trading records regarding the omnibus accounts from Scottsdaie Capital, Brown
Brothers, Vertlcal Groug, Knight Execution and Clearing Services LLC, OC Securities lnc. and Ascendiant
Capital Markets LLC, according to the Finra records.

Scottsdaie is already the subject of investigations by Finra. the SEC and the FBl pertaining to an unusual $34
million pump and dump involving a German company known as Biozoom inc., according to a person familiar
with the situation. Scottsdaie's clearing agency and related entity, Salt Lake City-based Alpine Securities is

also a part of those probes.

The firms have provided securities officials with documents pertaining to the Biozoom trades and shareholders,
including those sought under a request from the SEC and Finra that employees turn over all personal notes
regarding Biozoom. Scottsdaie and Alpine were also forbidden from destroying any Biozoom records.

The SEC filed a lawsuit last July, claiming that a group of 10 Argentine nationals had opened brokerage
accounts at Scottsdaie and New York-based Legend Securities lnc.. depositing shares and providing
papenlvork stating that the Biozoom stock was purchased from shareholders in Entertainment Art inc., the
registered shell company that had merged with Biozoom to bring it public in February 2013.

Biozooml which lists Kassel, Germany, as its headquartersl claims to produce a "biofeedback device" that
consumers can use to monitor and analyze data related to their health.

The SEC alleges that the stock purchase agreement documents were false and that the Entertainment Art
investors had sold ali of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members of the group
were not the real investorsl but instead were simply nominees. None of the Argentines listed investor as their
profession, and none of them deposited ortr“aded in any oth`er stocks. according to a person familiar with the
investigation. The Argentine group ls said to have included retired teachers and the owner of a delicatessen.

 

 

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Finra focusing on money-laundering violations - Deal Pipeline Page 5 of 5

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ciients. They submitted trade orders by e-maii or instant messaging, which the firm did not allow for most
clients. The Biozoom shareholders were also charged commissions of just 2%. while other clients paid 4% to

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The Biozoom shareholders were also allowed to wire funds from their accounts to banks in Cyprus.
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only allows clients to wire funds to U.S. banks or to institutions in the country where they llve.

The SEC halted trading ln Biozoom on June 25 and. in July, asked the court for an emergency order freezing
the defendants' assets. That kept $16 million in stock sale proceeds in the U.S. Another $17 million had
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The SEC alleges says thatl from March 2013 through June, the Argentines received 20 million shares of
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As of June 30, Biozoom owned assets valued at only $1.05 million, according to its last filing with the SEC. in
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When the stock was haltedl the shares were at $3.45. When trading resumed, they plunged to 13 cents. cutting
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THE STATE OF NEW HAMPSHIRE

HILLSBOROUGH, SS.
NORTHERN DISTRICT

SUPERIOR COURT

Scottsdaie Capital Advisors Corp.

John Hurry

The Deal, LLC and William Meagher

Case No. 216-2016-CV-00819

NOTICE OF FILING NOTICE OF REMOVAL

NOW COME Defendants The Deal, LLC and William Meagher, by and through counsel,

Shahcen & Gordon, P.A., providing notice to this Court that, pursuant to 28 U.S.C. §§ 1332,`

1441 and 1446, a Notice of Removal of the above-captioned action has been filed in the United

States District Court for the District of New Hampshire. The Notice of Removal (with

attachment) is attached hereto as Exhibit A.

DATED: December 22, 2016

Respcctfully submitted,

The Deal, LLC and William Meagher
By Their Attorneys:

SHAHEEN & GORDON, P.A.

Steven M. Gordonj

NH Bar No. 964

107 Storrs Street

P.O. Box 2703

Concord, NH 03302-2703
(603_) 225-7262

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DAVIS WRIGHT TREMAINE LLP
Elizabeth A. McNamara (OfCounsel)
John M. Browning (OfCounsel)

1251 Avenue of the Americas, 21st Fl.
New York, NY 11238-1104

(212) 489-8240

CERTIFICATE OF SERVICE

I hereby certify that on this 22nd day of December, 2016, a copy of the foregoing Motion
has been forwarded to the following in the manner specified herein:

Conventionally Served:

George R. Moore, Esq.

NH Bar # 1791

Devine, Millimet & Branch, P.A.
111 Amherst Street

Manchester, NH 3101

(603) 669-1000

Conventionally served via overnight mail:
Charles J. Harder, Esq.

Jordan Susman, Esq.

Harder, Mirell & Abrams, LLP

132 South Rodco Drive, 4th Floor
Beverly Hills, CA 90212

(424) 203-1600

Al'torneys for Scottsdaie Capital Advisors Corp.
and John Hurry

Steven M. Ga'i;d&i
NH Bar #964

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Beth Stevens
`

From: ecf_bounce@nhd.uscourts.gov
Sent: Thursday, December 22, 2016 2:42 PM
To: nef@nhd.uscourts.gov

Activity in Case 1:16-cv-00545 Scottsdaie Capital Advisors Corp. et al v. The Deal, LLC et

Subject:
al Notice of Removal - New Case

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U.S. District Court

District of New Hampshire

Notice of Eiectronic Filing

The following transaction Was entered by Gordon, Steven on 12/22/2016 at 2:41 PM EST and filed on
._12/22/2016

Case Name: Scottsdaie Capital Advisors Corp. et al V. The Deal, LLC et al
Case Number: 1:16-cv-00545
Filer: William Meagher

The Deal, LLC

Document Number: 1

Docket Text:
NOT|CE OF REMOVAL with Jury Demand from Hi|lsborough County Superior Court, Northern

District, case number 216-2016-CV-00819 (filing fee $400, receipt number 0102-1458983) filed
by Wi||iam Meagher, The Deal, LLC. Answer Fol|ow Up on 1l12l2017. The court only follow up
date DOES NOT include 3 additional days that may apply per FRCP 6(d) and FRCrP 45(c).
State Court Record Fol|ow Up 1I5I2017. (Attachments: # (1) Exhibit 1-State Court Complaint, #
(2) Letter to Counse| Regarding Notice of Removai, # (3) Letter to Court Regarding Notice of
Removal, # (4) Disclosure Statement, # (5) Civi| Cover Sheet)(Gordon, Steven)

1:16-_cv-00545 Notice has been electronically mailed to:

Steven M. Gordon sgordon@shaheengordon.com, bstevcns@shaheengordon.com_.
concord@shaheengordon.com

1:16-cv-00545 Notice, to the extent appropriate, must be delivered conventionally to:

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Scottsdale Capital Advisors Corp.

John Hurry

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStamp_ =1045603718 [Date=12/22/2016] [FileNumber=1633103-

O] [7d08ac2752de8a601ecb098b1e49fa26dbac7063c3 70acOb33779e6ee4cf506b07
5734cfba04 l fdd8a7d4f9f6f6feach0801 6bdl 8 83 90bebdd8d4e06d3 9d90a]]
Document description:Exhibit l-State Court Complaint

Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStamp_ID=lO45603718 [Date=12/22/2016] [FileNumber=l633 103-

1] [1af1 9b3 726923d3e5db8t2fcl 58e9f60i2dc9a90467dbfeb4155457e2276076b8b
bc21a736d36ab25dc91 l b790605b2e3fb4405c4a4ea019d7d6644b85a4a729]]
Document description: Letter to Counsel Regarding Notice of Removal
Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStamp_ID=l 04560371 8 [Date=12/22/201 6] [FileNumber=l 633 103-

2] [aa4cf90742ad20c2f96a4fade54961ddc296e395765669i358b3a6725885a9cd7
85d79abfeb6d682l4ca7c900ce67efbcd77a75399966c6f5eb3f459c03b7fe]]
Document description: Letter to Court Regarding Notice of Removal

Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStarnp_ID=1045603718 [Date=12/22/2016] [FileNumber=l633103-

3] [2a950e5a2221e62edbf1 3208af62c8cebchi8c941b0815df5d7db3a2579490278
5 73c45ca4a6ec926f2b3b 1 8693 78 53 77cd98908ddt10fbbelb69de21 18af5b]]
Document description: Disclosure Statement

Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStamp_lD=1045603718 [Date=12/22/2016] [FileNumber=1633103~

4] [41070804fccacc01303 8515a678fd445f95c24dfee62bde8eb456822a2e69e8d07
5043 9604f8e077f547b72461cb1 002f6539136bf1‘21015a97aa4cf92068 120]]
Document description:Civil Cover Sheet

Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStamp_ID=1045603718 [Date=12/22/2016] [FileNumber=l633103-

5] [66e15a962637a6916ab668bl60308404e6ab85d172288d9ef71 12bal 161 cZacb88
9la2639371dc77d0201894fa38be63868e0553ber41f57ldl le0460de7dlc]]

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW HAMPSHIRE

 

 

 

)
Scottsdale Capital Advisors Corp, )
and John Hurry )
)
Plaintiffs, )
)

v. ) Civil Action No.
_ )
The Deal, LLC and William Meagher, )
)
Defendants. )
)

NOTICE OF REMOVAL

 

NOW COME defendants The Deal, LLC (“The Deal”) and William Meagher
(collectively, the “Defendants”), by and through counsel, Shahcen & Gordon, PA, filing this

Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, and, in support thereof, state

as follows:

1. On or about November 18, 2016 plaintiffs Scottsdale Capital Advisors Corp.
(“Scottsdale”) and John Hurry (collectively, the “Plaintiffs) filed the above entitled action as
Civil Case Number 216-2016-CV~00819 in New Hampshire Superior Court, Hillsborough
County, Northern District (the “State Court Action”). The Complaint and Demand for Jury Trial
filed in the State Court Action (the “Complaint”) alleges defamation, false light invasion of
privacy, intentional interference with contractual relations and tortious interference With
prospective economic advantage A copy of the Complaint is annexed hereto as Exhibit l.

2. The Deal and Mr. Meagher were served with a copy of the Complaint on

December 1, 2016 and December 5, 2016 respectively. No other processes, pleadings or orders

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have been served upon Defendants or otherwise found in the State Action file at the time of the
filing of this removal.

3. This is a civil action over which this Court has original jurisdiction under 28
U.S.C. § 1332(a), and is one which may be removed to this Court under 28 U.S.C. § 1441 (a), in
that it is a civil action between citizens of different states (with citizens of a foreign state as
additional parties) and, upon information and belief, the matter in controversy is alleged to
exceed the sum or value of $75,000, exclusive of- interest and costs. Because the State Court
Action is pending in New Hampshire Superior Court of Hillsborough County, Northern District,
removal of the State Court Action to this District Court is proper under 28 U.S.C. §§ 144l(a),
1446(a).

4. This Court has original jurisdiction over this action under 28 U.S.C. § 1332(a)(1),
which allows for removal of lawsuits - like this one - between “citizens of different States and in
which citizens or subjects of a foreign state are additional parties.” For purposes of determining
citizenship of a corporation, a corporation is deemed a citizen of any state in which it has been
incorporated and the state Where it has its principal place of business. See 28 U.S.C.
§ 1332(c)(1).

5. Plaintiff Scottsdale is an Arizona corporation with its principle place of business
in Scottsdale Arizona. See Ex. 1 ‘[[l. Plaintiff Hurry was at the time of filing of this action, and
is now, a citizen of Nevada, residing in Glennbrook, Nevada. Id. at ‘\lZ.

6. Defendant The Deal is a Delaware limited liability company with its principle
place of business in New York, NY. Id. at 1[3. Defendant Meagher was at the time of filing of

this action, and is now, a citizen of California (id. at 1]4), residing in Petaluma, Califomia.

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7 . F or the reasons set forth above, there is complete diversity between the parties for
purposes of removal: Plaintiffs are citizens of Nevada and Arizona, respectively, while
Defendants are variously citizens of New York, Delaware and California (see supra at 1111 5-6.).

8. With respect to the amount in controversy, although Plaintiffs are not permitted to
plead a specific amount in controversy under New Hampshire law and have thus not quantified
their alleged damages, upon information and belief, the amount in controversy in this Action
exceeds the $75,000 threshold for remo'val jurisdiction under 28 U.S.C. § 1332(a).

9. Pursuant to 28 U.S.C. § 1446(d), Defendants Will promptly give notice of this
filing to Plaintiffs and will file a copy of this Notice of Removal with the clerk of the New
Hampshire Superior Court of Hillsborough County, Northern Division.

10. Defendants reserve the right to amend or supplement this Notice of Removal.

WHEREFORE, Defendants respectfully request that this Complaint be removed to the
United States District Court for the District of New Hampshire.

Respectfully submitted,

The Deal, LLC and William Meagher
By Their Attorneys:

SHAHEEN & GORDON, P.A.

DATED: December 22, 2016 /s/ Steven M. Gordon
Steven M. Gordon

NH Bar No. 964

107 Stolrs Street

P.O. Box 2703

Concord, NH 03302-2703
(603) 225-7262

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DAVIS WRIGHT TREMAINE LLP

Elizabeth A. McNamara (Pro Hac Vice to be
filed)

John M. Browning (Pro Hac Vice to be filed)
1251 Avenue of the Americas, 21“1"1.

New York, NY 11238-1104

(212) 489-8240

CERTIFICATE OF SERVICE

I hereby certify that on this 22nd day of December, 2016, a copy of the foregoing Notice
of Removal has been forwarded to the following in the manner specified herein:

Conventionally Served:

George R. Moore, Esq.

NH Bar # 1791

Devine, Millimet & Branch, P.A.
111 Amherst Street

Manchester, NH 3101

(603) 669-1000

Served by Overnight Courier
Charles J. Harder, Esq.

Jordan Susman, Esq.

Harder, Mirell & Abrams, LLP
132 South Rodeo Drive, 4th Floor
Beverly Hills, CA 90212

(424) 203-1600

Attorneys for Scottsdaie Capital Advisors Corp.
and John Hurry

/s/ Steven M. Gordon
Steven M. Gordon
NH Bar #964

 

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EXHIBI'I` 1

 

 

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THE STATE OF NEW HAMPSHLRE
HILLSBOROUGH, SS. SUPERIOR COURT
NORTHERN DISTRICT Docket No.
Scottsdaie Capital Advisors Corp.
and
John Hurry

v.
The Deal, LLC and William Meagher
COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW Plaintiffs Scottsdale Capital Advisors Corp. (“SCA”) and John Hurry

 

(“Mr. Hurry”) (collectively “Plaintiffs") with Complaint against Defendants The Deal, LLC
(“The Deal”) and William Meagher (“Mr. Meagher”) (collectively, “Defendants") and shows the

Court the following:
PARTIES

l. Plaintiff SCA is an Arizona corporationl having its principal place of business at

7170 E. McDonald Dr. #6, Scottsdale, Arizona 85253. At all relevant times, SCA was and is a
securities broker dealer engaged in the business of holding and trading in securities and was and

is a registered member firm of the Financial lndustry Regulatory Authority, lnc. (“FINRA”), a

private corporation which regulates the securities industry.

2. Plaintiff Mr. Hurry is an individual residing in Glenbrook, Nevada who maintains

a business office in Glenbrook, Nevada. At all relevant times, Mr. Hurry was and is an executive

officer of SCA. Mr. Hurry and SCA do substantial business in the micro-cap and small cap

securities sector.

3. On information and belief`, Defendant The Deal is a Delaware limited liability

company, having its address and principal place of business at 14 Wall St., 15th Floor, New

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York, NY 10005. On information and belief, The Deal publishes print and electronic
publications concerning the financial sector, including The DeaLFlow Report (“DealFlow”) and
The Deal Pipeline (“Pipeline"). On information and belief, The Deal’s publications are
physically and electronically distributed to subscribers by The Deal and its parendafhliate,
TheStreet.com. On information and belief, The Deal’s publications, including DealFlow and
Pipeline, enjoy a substantial circulation, especially to members of and those with an interest in
the financial sector (especially the micro-cap and small cap securities sector), and are distributed

to paid subscribers in New Hampshire.
On information and belief`, Defendant Mr. Meagher is an individual residing in

4.
California who is employed as a writer by The Deal and TheStreet.com.
JURISDICTION AND VENUE
5. This Court has subject matter jurisdiction over this action pursuant to N.H. R.S.A.
491 :7.
6. The Court has personal jurisdiction over Defendants because they committed

tortious acts in New Hampshire. On information and belief, Defendants publish online content
for distribution to paid subscribers within the state ofNew Hampshire, thereby availing
themselves of New Hampshire law and the benefit of conducting activities in the forum state.

New Hampshire has a strong interest in this litigation, as the tortious acts caused

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injury in New Hampshire.
8. Having the case heard in New Hampshire provides the Plaintiffs with an effective

and convenient forum to obtain relief, and the acts of the Defendants are intertwined such that

interstate judicial efficiency is served by avoiding multiple lawsuits

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FACTUAL BACKGROUND

9. On December 6, 2013, an article written by Mr. Meagher appeared in Deal

Pipeline entitled “FBI, securities officials investigating Scottsdale Capital, Alpine Securities,
source says” (“December 6 Article”). §§_e Exhibit A. The December 6 Article falsely stated that
Plaintiffs and their aifiliated companies were being criminally investigated and being
investigated by securities regulators. The December 6 Article ii.nther falsely stated that Plaintiffs
engaged in favoritism towards shareholders cfa company named Biozoom, including by
allowing them to trade in violation of SCA policies and giving them special perks. The
December 6 Article also falsely stated that Plaintiffs ignored “red tlags” with respect to Biozoom

transactions
On March 20, 2014, an article written by Mr. Meagher appeared in Deal Pipeline

lO.
entitled “SEC requests default judgment in $34M Biozoom pump-and-durnp case" (“March 20
Article”). g Exhibit B. The March 20 Article falsely stated that Plaintiffs and their affiliated
companies were being investigated by the FBI, and were the targets of criminal and securities
investigations The March 20 Article also falsely stated that Plaintiffs were involved in a “pump
and dump” scheme with Biozocm. (According to Wikipedia, “‘[p]ump and dump' (P&D) is a
form ofrnicrocap stock fraud that involves artificially inflating the price of an owned stock
through false and misleading positive statements, in order to sell the cheaply purchased stock ata
higher price”.) §§ https:/len.wikipedia_orywiki/Pump_and_dmnp.

11. On April 16, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled "Finra focusing on money-laundering violations” (“April 16 Article”). S_ie Exhibit C.

The April 16 Article repeated the false claim that Plaintiffs and their affiliated companies were

under FBI investigation.

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12. The statements in the December 6, March 20, and April 16 Articles are false and
defamatory Mr. Hurry and his companies, including SCA, enjoy an excellent reputation, and at
all times conduct themselves in accordance with high ethical standards, and had not been under
any criminal or regulatory investigation at the time that Mr. Meagher’s articles were published
Plaintiffs were not involved in any “pump and dump” scheme and never gave special treatment

to Biozoom shareholders
The defamatory statements made by Defendants have substantially harmed

13.
Plaintifis' business relationships Plaintiffs and their afliliated. companies have seen brokerage
and bank accounts closed, longstanding banking relationships severed, proposed business
transactions halted, and investments hampered delayed, or declined as a result of the defamatory
statements made by Defendants. In addition to causing actual damages, the defamatory

statements constituted defamation per se because they were the type that would tend to injure

Plaintiffs in their trade or business.
COUNT I - DEFAMATION

Plaintiffs incorporate by this reference Paragraphs l through 13 of this Complaint

14.
as though lirlly set forth herein.

15. Defendants have published false and defamatory statements of fact about
Plaintiffs.

16. The false and defamatory statements were made without the privilege to do so and

concern the personal, professional and business reputations of SCA and Mr. Hurry.

17. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

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COUNT ll - INVASION OF PRlVACY, FALSE LIGHT

PlaintiEs incorporate by this reference Paragraphs 1 through 17 of this Complaint

18 .
as though fully set forth herein.
19. Defendants published private information that portrayed Plahitii`fs in a false light
20. The false light in which Defendants placed Plaintiffs would be highly offensive to
a reasonable person.
21. Defendants knew that the assertions they published were false and/or acted in

reckless disregard as to the falsity of the publicized matter and the false light in which Plaintiffs

would be placed by those assertionsl

22. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT III - INTENTIONAL INTERFERENCE W!'I`H CONTRACTUAL
RELATIONS

23, Plaintiffs incorporate by this reference Paragraphs 1 through 22 of this Complaint

as though fully set forth herein.

24. Defendants knew that Plaintiifs, being securities broker dealers engaged in the

business of holding and trading in securities, had business relationships which would have been

completed had it not been for Defendants’ unlawful acts.

25 . Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by

intentionally and unjustifiany interfering with their actual business relationships

26. On information and belief, as a direct result of Defendants’ publication of

defamatory statements about Plaintiffs, Plaintiffs have lost business relationships and/or

Plaintii`fs’ existing business relationships have been harmed.

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27. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT IV -- TORTI()US INTERFERENCE WITH PROSPECTIVE ECONOMIC
ADVANTAGE

28. Plaintiffs incorporate by this reference Paragraphs l through 27 of this Complaint

as though iirlly set forth herein.
29. Defendants knew that Plaintiffs, being securities broker dealers engaged in the

business of holding and trading in securities, had a reasonable expectation of entering into valid

business relationships, which would have been completed had it not been for Defendants’

unlawtiil acts.

30. Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by

intentionally and unjustifiany interfering with their prospective business relationships

31. On information and belief, as a direct result of Defendants’ publication of

defamatory statements about Plaintiffs, Plaintiffs have lost business relationships and/or

Plaintiffs’ prospective business relationships have been harmed

32. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

WHEREFORE, Plaintiffs SCA and Mr. Hurry, respectfully requests

A. An award of general, special, and enhanced compensatory damages within the

jurisdictional limits of the Court;
B. An injunction enjoining the further publication ofthe false statements in

Defendants’ articles;
C. An award of attorneys’ fees in connection with this matter;

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D. An award of interest and all costs incurred in connection with this matter; and

E. Such other and further relief as may be appropriate based on the allegations

herein.

JURY DEMAND
PLAINTIFFS SCOTTSDALE CAPITAL ADVISORS CORP. AND JOHN HURRY

DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
Respectiiilly submitted,

SCOTTSDALE CAPITAL ADVISORS CORP.
AND JOHN HURRY

By their attorneys
DEVII~JE, MILLIMET & BRANCH, P.A.

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/ /

George R_ Mo'<{ne, Esquire
NH Bar No. 1791

ill Amherst Street
Manchester, NH 03101

603 -669- l 000

HARDER, MIRELL & ABRAMS, LLP

Dated: //jf%'(
/ / charles J. Harder (cAB # 184593)
Pra Hac Vice to be filed
Jordan Susman (CAB # 246116)
Pro Hac Vice to be filed
132 south kod¢o Drive, ¢\\‘h Fier
Beverly Hills, CA 90212
424-203-1600

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FBI, securities oiticials investigating Scottsdaie Capital, Alpine Securities, source says - Deal Pipeline

 

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FBl, securities oft"rcials investigating Scottsdaie
Capital, Alpine Securities, source says

By Bl|[ mgher Updated 09:05 PM, Dac~DG-Zt)‘l$ El'

The FBl, the Securities and §gchange Commtes!on and the Financiai lndustry Regulatory Authority have

opened investigations into the involvement of Scottsdaie Capital Advisors and Alpine Securities ln the trading
of Biozoom inc., according to a person familiar with those investigations

investors in Biozoom lost some $300 million alter the SEC halted trading in the stock in June. The commission
cited "a tank of current and accurate information" about the stock and suspicions that the company and some
shareholders may have illegally sold unregistered shares to the public.

Before lt allowed trading in Biozoom to resume in July, the SEC obtained an emergency order from the U.S.
District Court in Manhattan, freezing almost $16 million in cash in U.S. brokerage accounts.

Another 517 million |n trading revenues connected to sales of Biozoom shares was wired overseas before the
court order. the SEC claimed in its court ll|ing. Another $8 mnlion in wire transfers requested by Biozoom
shareholders were halted by the broker-dealers before they could go overseas

The SEC also ordered the broker-dealers involved in the transactions. Arizona-based Scottsdaie Capital, Salt
Lake City-»based Alpine and Legend Securities lnc. of New York, to preserve all of their records connected to
the Biozoom transactions

The regulator charged eight Argentine citizens with illegal sales of unregistered shares ot Biozoom. The
complaint also named two other Argentines who owned shares of Biozoom but did not sell them prior to the

asset freeze. '

Btozoom, which lists Kassel. Germany, as its headquarters purports to manufacture a "biofeedback device"
that consumers can use to monitor and analyze data related to their health. The company went public in
February through a reverse merger with registered shell company Entertainment Art lnc. and raised $1.15
million in a private placement to an lnvestor whose identity was not disclosed

 

 

The stock was the subject of an unusual promotion four months later. Recommendalions for Biozoom stock
appeared in at least 13 e-mali newsletters, oncoming to i-iotstocked.oom, a website that tracks stock
promotions Legai disclaimers that accompanied the pmrrmticns claimed thorne compensation had been paid

 

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securities, source says --Deal Pipeline

for the stock-friendly hype. Legal disclaimers in penny stock newsletters often identify the companies that pay
for stock promotions and sometimes provide details oil the oompensation. as is required under securities law.

Some stock promotion budgets run es high as 33 million.

One of the promotions claimed that Biozoom's 'hand held device for the non-invaalve transdermal analysis of
antioxldanis and other biomarkers |n the littman body.. replaces expensivel time consuming and invaeive
blood tests."

"Futul'e appllcettms. future roll-out markets end applications are even more impressive.' another newsletter
stated. “Reievaht biomarkers can and will be ldanillied and analyaed forthings such as oholemroi, alcoholl
various illegal druge. smoke. poisons, and blood pressure » to name a few. The unit is being further developed
to measure blood sugar levels. tapping into a staggering $220 billion a year diabetes market in the U.S. end

350 million people with diabetes around the world."

Biozoom stock was also promoted in an unusual advertising campaign that made use of mainstream media

outlets, including the New York Times and g§A Ioday. in June, ads that took up most ol a full page were
placed in those newspapers that ostensibly promoted London-based publication called Giobai Financiai

lnsigl'lts. But, while the ads included subscription information and other details about the publication, most of
their space was taken up with the magazine's recommendation of Biozoom stock.

A tull-page black and white ad in uSA Today could have cost $125.000, according to |nformation that the
newspaper distributes to advertisers A similar blow York Times ad would run $80.000 to $100.000, according
to a newspaper spokesperson.

Both ads featured a headline that read, "lnnovative Technology Company invents Real 'Star Trek' Medicai
Scanner that Dlagnoees Patient Health in Seconds.'

A recommendation for Biozoom stock also featured prominently in an advertisement ior a newsletter called
TheStockReport.com that ran on the Ru_en Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which was distributed
May 16. the day that Biozoom began trading at $1.10. The report valued the shares at $10.30.

Biozoom started trading with a thin volume of about 10,000 shares a day. The $1.10 share price implied a
market value of $108.6 million forthe company.

But when the promotion began to pick up epeed, the shares rose tc $1.50 on their way to en intraday high of
$4.50 and a market cap of $421.5 million. Trading volume jumped as high as 11.7 million shares.

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13 cents, giving
Biozoom a market capitaliza|ton of just $9.58 million. investors lost more then $300 million.

Finra and SEC otliciala declined to comment for this story. An FEii spokesman would neither oon|irm nor deny
the existence of a criminal probe tied to Biozoom trading.

But a source who has spoken to invesbgators said the investigations are ongoing The probes by Finra and the
SEC began in May, prior to the trading heit.

The brokerage firm Scottsdaie Capital is owned by Scottsdaie Capital Advisors Holdings LLC and the Hurry
Famlly irrevocable Trust. Alpine is owned by §§A Clearing LLC. Both Scottsdaie and Alpine are controlled by
John Hurry. who ls a director of both companies Hurry's wife Juatine is a diredor with Scottsdaie and a

minority owner.

The home pages of both Scottsdaie Capitai's and Alpine's websitee feature the same motto. 'At the top of the
Sma|| Cap Market." along with a photo cfa mountain peak. For Scottsdaie. it is a desert mountain For ltlpinel

it's a snow capped peak.

 

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FBI, securities oiiicials investigating Scottsdaie Capital, Alpine Securities, source says ~ Deal Pipeline

The SEC comth alleges that six of the shareholders named in the action, Magda|ena Tavella, Adriana
Bagattln. Danieia Goidman. Marlano Gradarena. Femando Loureyro and Marlano Farrari. opened accounts at
Scottsdaie between May 10 end June 14. The other shareholders named by the SEC - Andres Ficicchia,
Gonzaio Bieya. Lucia Hemsndo and Cecilia De Lorenzo - opened trading accounts at Legend Securities from
January through March. according to the SEC. Ficicchia also had an account at Scottsdaie.

in ail, the Biozoom shareholders deposited 20.1 million shares in the trading accounts which represented 100%
ot the share float that did not carry a trading restriction. Those shares represented about 88% of the total

shares in the company.
None of the Biozoom shereholders, contacted by e-mell. responded to a request for comment from The Deal,

Legend sewriues is owed by armada Nezwmr¢ inc., cure caoaoe. salvatore caruso. Anmg_iy russo and
Mark Suiavka. according to Finra recorde.

The SEC claims that when the Argentine shareholders opened their trading accounts at Scottsdaie and
Legend. they provided documents end sales receipts purporting to show that they had bought their shares
between Feb. 19 and March 15 from the original shareholders of shell company Entertainment Art. But the
SEC states in its complaint that ali of the Entertainment Art shareholders sold their shares to Medford Financiai
Ltd. in 2009. Medford in turn was purchased by Le Mond Capitall a British Virgin islands-based f|rrn.for
$430.000 last year. Le Mond was controlled by Sara Deutsch. who became CEO ot Entertainment Art.

When the reverse merger took place in Februery, Deutsch paid $50,000 and 39 million shares tro complete the
transaction with four German entities for intellectual property that became the basis for Biozoom. The deal lett
her with 20.1 million aheree. Deutsch became a director and assistant secretary for Biozoom, and in doing so,

became what the SEC considers to be a control person.

The commission alleges that the shares Deutsch controlled were the shares that were actuain distributed to
the Argentine shareholders and that the stock sale agreements they used to help open the trading accounts at
Scottsdaie and Legend were fakes. Since Deutsch was a control person. any shares she distributed would be

restricted and not free trading.

Deutsch ran a restaurant in Buenos Aires along with Magdaiena Tavella called Magdalena's Party, according
to the SEC complaint Tavella was one of the Biozoom shareholders who traded through Scottsdaie.

Miiler Piace, N.Y.-hesed securities attorney Randail Gouiding supplied a legal opinion for all of the Biozoom
ahareholdere. based in part on the stock sale documents portraying the transactions with original
Entertainment Art shareholders, the SEC claimed in a court filing requesting the asset freeze. His opinion letter
stated that the share certificates could be deposited without restricdons based on an exemption from
registration provided by Rule 144 of the Securities Act. He said that the sellers were not aftiiiates of the
company and had held the shares for more than four years and that the account holders were not individually
or collectively the beneficial owner of more than 10% of the common shares of the company.

On June 19. Gouiding e-mailed the general counsel for Legend saying, "l hereby withdraw ali of my opinions
issued for the securities of Biozoom. formerly Entertainment Art. Be advised that none of these opinions should

be relied upon,“ according to the SEC
§§M_ntgnig-based securities lawyer David Wiee. who had supplied a similar legal opinion letter to Scottsdaie
forTavella end Goidman on May 20, withdrew his letteer 26. Wise sent an e»mall to Scottsdaie that in part
read, 'lt has been brought to our attention that the SEC recently suspended trading in Biozoom. lt has also
bean brought to our attention that Tavella and Goidman may have provided inaccurate or misleading
information and documentation to Scottsdaie and to this firm."

A number of factors make ii appear that the Biozoom shareholders were connected in an organized effort

 

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FBI, securities officials investigating Scottsdaie Capital, Alpine Securitics, source says - Deal Pipeline

A person who has spoken with investigators said that the six shareholders who held Scottsdaie accounts
opened them within he same week. The SEC complaint states that ell of the shareholders live In Buenos

Aires.

A person familiar with the lnvestlgatlve documents said the handwriting on the account applications for the
Biozoom shareholders was the same. the answers to questions on their foreign due diligence packages were
vary similar and they held accounts at the same banks in Cyprus. Sw|tzerland and Panama.

Moreover, the e-mar1 addresses they fum|shed for their trading accounts were opened within a week of each
other. according to Whoeie,oom. a website that furnishes information on domain registrations The addresses

are also simiiar, all containing the account holders' last names

The shareholders with accounts at Legend were also from Buenos Aires.

According to a declaration liied with the court by Ricky Saoharl an assistant director of enforcement for the

SEC, all ofthe shareholders e-mel| accounts were opened with the same regional |ntemet registry. Aii of the
Biozoom trades were made from May 16 to June 17 and no otheretocks were deposited or traded through the

accounts at either Scottsdaie or Legend. Atso. all of the Biozoom trades were ordered using either a-meil or
instant messagan accounts.

"These shareholders were brought in for this. it's as simple aa that," said a person with knowledge of the
investigations. 'They are retired teachers a dell owner, but they come in with millions of shares of stock. They
only trade Biozoom and they are directing trades using traders' |ingo, telling them which market makers to usa
for the trades? Come on. They were straw men for whoever is behind this whole lhlng."

 

That same person sold the Biozoom shareholders who opened accounts with Scottsdaie enjoyed perks that
were not available to other Scottsdaie clients

Typical clients pay 4% per transaction, or 4.5% if their transactions are cleamd through Alpine. Longtime
clients who do a heavy volume of business may occasionally receive a discount of one percentage point. But

Biozoom clients paid just 2%. the person said.

They were also allowed to place orders using instant messaging, which is generally forbidden under
Scottsdaie's internal polleies. A person with knowledge of Scottsdaie's operations said the policy was changed
for the Biozoom shareholders by the broker-deeler’e management after Biozoom shareholders complained.

A standing Scottsdaie policy only allows clients to wire funds from their accounts to banks in the U.S. or to
institutions in the country where they iive. But the person said that Biozoom shareholders were allowed to send
funds to Cyprus. Switzeriand, Panama and Belize, despite the fact that all of them live in Argentine and ali cf

them had signed documents agreeing to abide by Scottsdaie's wire policy.

The same person said that several red flags were raised regarding the Biozoom trades at Scottsdaie: They
ware large trades in s microcap stock with relatively little liquidity. Aiso. foreign nationals were wirlng large
sums out of the U.S.. raising potential concerns about money iaundering. Stlll, no follow-up occurred at the

broker-deaton the person seld.

Finra. who has worked with the SEC on the prcbe, has had several "on-the-record" conversations with
Scottsdaie staff regarding the trading of Biozoom shares. the process by which the accounts were opened for
the Argentine nationals and how assets were moved offshorel according to a person who has spoken with
investigators “OTRs", as they are known in tha brokerage lndustry, are sessions in which Finra start ask
speciiic questions cf registered representatives who must answer them or face disciplinary ections.

A source who has spoken to investigators said Scottsdaie etetf members who have talked with Finra regarding
Biozoom trades are Timothy Scarpinb, Tim Diblesl, Liz Amdt, Henry Diekmann, Jay Noimanl Michael Cruz,

Adam Fiandaca end Ted Ashton.

 

 

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FBI securities officials investigating Scottsdaie Capital, Alpine Sectu‘ities, source says - Deal Pipeline

Finra also taikad with John Hurry. that same source said.

Soat'pine. who processed the Argentine accounts connected to the Biozoom tradesl resigned from his position
at Scottsdaie. He declined comment for this story. Ashton. who was a compiiance analyst. also is no longer

with the firrn. Efforts to reach him failed.

Amdt is the attica manager and overseas trading. Noiman and Diekmann are in compliance. and Diblasi is
chief operating ofilcar. Cruz la chief counsel, and Fiandaca handles wiring of tunds.

Diekmann denied he participated in the OTRs with Finra in a very brief phone interview.

None of the other Scottsdaie etait questioned by Finra returned phone calls from The Deal seeking comment
regarding the OTR's about Biozoom.

Geraid Russeilo, a partner at the law firm of§id|_g&g_ttn_Lt.g in New York, said that Scottsdaie and Alpine
would have no comment regarding Biozoom trading or the investigations by Finra. the SEC and the FBl,
Russeiio is a securities lawyer and former SEC enforcement branch chief.

M, a partner with §§_L&tg_u£ in Washington who represents Legend Sacurlties, said he does
not know if the SECis concerned with how Legend conducted iteeii' with regards w the Biozoom trades. but he
said that legend had not filed any notice with Finra regarding an SEC investigation.

Kirby also said that Legend alerted the SEC to its conceme regarding Biozoom and that the broker~deaier had
acted on ita own to freeze accounts tied to the Argentine nationals prior to the SEC action Juiy 7.

Whiie Legend did complete a June 13 $600.000 wire transfer for Luciana Hemando to Hellenic Bank Pubiic
Cn. in Lemescs, Cyprus, lt refused Hernando's request to move $2 million to the same bank on June 17.
Legend also refused a Mn're request from Biaya June 14 to transfer almost $3.5 million to a bank in Geneva,

according to the SEC complaint
Meanwhiic. John Hurry. who controls both Scottsdaie and Alpine. is in negotiations to buy Salt Lake City»based
broker-dealer VWtson-Mg_§,_g_g,_, according to a person with knowledge of the deai.

Representatives of Wiison-Davie did not return phone oatis from The Deal seeking comment. Scottsdaie
representatives declined to comment.

 

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§EC reguasts default judgment tn §34M Biozoom gumg;and~dumg case By §iii Meagher Updated 04:10

PM, Mar-20-2014 F.T

The Securities and Exchange Cgmmiss_t_r,gn plans to requests default judgment against the lO
Argentine residents who have been named as defendants in the $34 million Biozoom Inc. pump-
and-dump case after two law firms representing the Argentines asked to withdraw nom the casc.

The SEC filed a letter Tucsday, March 18, with lodge Naomi Buchwald in the U.S. District
Court in Manhattan, stating that it planned to request the judgment because the defendants had

failed to respond to the lawsuit by court ordered deadlines

Four days carlton attorney Marc Agniftlo had informed the court that his firm, Ncw York-based
Brafrnan & Associates PC, would withdraw as counsel to the Argentines

Brafman is the second firm that has represented the group charged with selling 20.3 million
shares of Biozoom without proper legistration. In September, McLaughlin & Stern LLP also

withdrew.

Brafman is a high-profile criminal defense firm that has counted crime boss Salvatore "Sammy
the Bull" Gravano, rapper Sean Combs and fenner international Monetary Fund chief

Dominique Strauss~Kahn among its clients

Agnitilo declined to comment on the firm's withdrawal from the Biozoom casc. In his letter to
the court, he said that Brafrnan had been told by the Argentines that it would be retained, but that

a retainer agreement was never signed.

Those named as defendants are Magdalena Tavella, Andres Horacio Ficicchia, Gonzaio Garcia
Blaya, Lucia Mariana Hcmendo, Cecilia De Lorenzo, Adriana Rosa Bagattin, Danieia Patn'cia
Goldman, Mariano Pablo Forrari, Mariano Graciarena and Femando Loureyro.

None of them responded to c-mails requesting comment.

A person familiar with the case said that Buenos Aires-based lawyer Juan lgnacio Prada has been
seeking representation for the group. Prada did not respond to a request for comment.

Patrick Bgan, assistant chief litigation counsel for the SEC, said the commission will file
paperwork to pursue the default judgment in the next month He declined to comment iiu'thcr.

The SEC filed the lawsuit last July, claiming that the Argentines had opened brokerage accounts
at Arizona-based Scottsdalc Capital Advisors and New York-based Legend Securities lnc.,
depositing shares and providing paperwork stating that the stock was purchased from
shareholders in Entertainment Arts Inc., the registered shell company that had merged with

Biozoom to bring it public in Fcbruary 2013.

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Biozoom, which lists Kassel, Germany, as its headquarters claims to produce a "biofeedback
device" that consumers can use to monitor and analyze data related to their health.

ln its complaint, the SEC alleges that the stock purchase agreement documents were false and
that the Entertainment Art investors had sold all of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members
of the group were not the real investors, but instead were simply nominees. None of the
Argentines listed investor as their profession, and none of them deposited or traded in any other

stocks, according to a person familiar with the investigation.

The Argentine group is said to have included retired teachers and the owner cfa delicatessen.

Scottsdaie Advisors is said to have given the Biozoom shareholders parks that were not available

to other clients. They submitted trade orders by e-mail or instant messaging, which the firm did
not allow-for most clients. The Biozoom shareholders were also charged commissions of just

2%, while other clients paid 4% to 4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in
Cyprus, Switzerland, Panama and Belize, despite a standing policy at Scottsdaie that usually only
allows clients to wire funds to U.S. banks or to institutions in the country where they live.

The SEC halted trading in Biozoom on .l unc 25 and, in July, asked the court for an emergency
order freezing the defendants' assets. That kept $16 million in stock sale proceeds in the U.S.
Another $17 million had already been wired overseas prior to the freeze.

The SEC alleges says that, from March 2013 through June, the Argentines received 20 million
shares of Biozoom, which was about one-third of the company's stock. In May, they sold 14

million shares reaping almost $34 million.

The shares were sold into a promotion that started May 16, as the company issued a series of
press releases, and continued into June. Biozoom's share price tripled, reaching an intraday high
of $4.50, implying a valuation of $421 .5 million. '

As oi`.lune 30, Biozoom owned assets valued at only $1.05 million, according to its last filing
with the SEC. ln the quarter ending June 30, the company had no revenue and a loss of

$328,671.

When the stock was halted, the shares were at $3.4$. When trading resumed, they plunged to 13
cerrts, cutting more than $300 million from Biozoom's market value

The promotion was unusual in the form it took. It included advertising in mainstream media
outlets, including the New York Times and U§A Today. In June, ads that took up most of a full
page were placed in those newspapers that ostensibly promoted a London-hased publication
called Giobai Financiai Insights. But, while the ads included subscription information and other

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details about the publication, most of their space was taken up with the magazine's
recommendation of Biozoom stock.

Both ads featured a headline that read, "Innovative Technology Company Invents Real 'Star
Trek' Medicai Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also featured prominently in an advertisement for a
newsletter called TheStockReport.com that ran on the B,ggh Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, Which
was distributed May 16, the day that Biozoom began trading at $ l . 10. The report valued the
shares at $l 0.30.

The FBI and the Financial lndustry Regulatory Authority have been investigating the
involvement of Scottsdaie and Alpine Securities, its Salt Lake City-based clearing firm, in
connection with the Biozoom stock sales since May, according to a person with knowledge of

the probe.

The firms have provided securities officials with documents pertaining to the Biozoom trades
and shareholders, including those sought under an unusual request from the SEC and Finra that
employees turn over all personal notes regarding Biozoom. Scottsdaie and Alpine were also

forbidden from destroying any Biozoom records.

Finra has scheduled an audit of Scottsdaie at the end March, according to a person familiar with
the investigation.

Representatives of the SEC, Finra, Scottsdaie and Alpine declined to comment. An FBI
spokesman said the agency will neither confirm nor deny the existence of an investigation.

Read more: http :[Lglpe|lne.thedeal.cam/tdd/ViewArtlcle.d|?icl=10007955861#lxzz2wb0pcww

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Finra focusing on money»laundering violations - Deal Pipeline Pagc l of 5

 

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Finra focusing on money-laundering violations

By Bill Meagher Updated 07:00 PM, Apr-‘i 6-2014 &T

On March 10. the staff at Scottsdaie Capital Advisors was sianied when their receptionist called out into the

ofiice, "Flnra is herei"

While representatives from the Financiai industry Regulatory Authority were expected al the end of the month
for a scheduled two-weak exam, this visit hud nothing lo do with that appointment Rather. the investigators
asked for files relating to overseas clients and omnibus accounts. which are owned in the names of other

brokerage iirms, according ic a person familiar with ihe rald.

That person said that a group of Finra investigators hauled away copies of documents regarding omnibus
accounts at Scottsdaie that included lhose owned in the nama of Belize~based"riisn international Securities
Inc. and Cayman islands-based Caiedonian Giobai Financiai Services Inc.. end a Cayman account linked to

Scottsdaie owner John Hurry.

Geraid Rueseiio. a partner with the law firm of Sidiey Aus§g LLP who represents Scottsdaie. declined to
comment. Representatives of Titan international did not return a phone call seeking comment.

Caiedonian Giobai CEO Kobi Dorenbush said his firm had nci been contacted by any U.S. regulators.

The action at Scottsdaie's Arizona offices came a monlh after brokerage tirm grown Brothers Harrlman §
g_g` was lined a record $B million by Finra in a settlement over alleged violations of ami-money laundering
regulations Finra also levied a $25,000 fine and a cna-month suspension from ihe securities industry against
Harold Crawford. the Ncw York-based llrm's former anii-rnoney-iaunder|ng compliance onicer.

 

 

Finra said ihat. from January 2009 to June 2013. Brown Brolhers executed trades or delivered securities in
transactions involving at inst 6 billion penny stock shares, with many of those transactions made through
omnibus accounts on behalf of clients that the iirm could not identify. Some of the $845 million in proceeds
were allegedly wired lo Swilzerland, Guernsey and Jorsey. countries with strong bank secrecy laws. Those
iocallcns and iransacilcns should have raised red flags with Brown Brothers and prompted the linn to ii|a
suspicious activity reports under federal anil-money-iaundering regulations, according to Finra.

 

Brown Brolhers agreed lo the settlement without admitting or denying Finra's findings. The linn also issued a
statement saying lt had changed lis procedures for handling low-priced securities and for surveillance oi l

 

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Finra focusing on money-laundering violations - Deal Pipeline Pagc 2 of 5

activity in low-priced securities to "rnltlgate a possible recurrence of this matter." Brown Brothers also said that
the activity covered by the settlement represented a small part of its investor services business end did not

involve its investment management or private bmng business

Some violations of anti-money-launderlng regulations have been closely linked with stock manipulation and
pump~end-dumps of nocrocap stoclrs, both ofwhlch have been identified as priority areas for enforcement

action by Finra and the Meaand_uclenee£ammlasion~

Finra's action againsth Brothers has gotten the attention of broker-dealers. antl-rnoney laundering
consultants and lawyers for two reasons The tine, the largest ever handed down for an anti-rnoney-launclering
violation by Finra, has served notice that the regulator is serious about firms cleaning up their ami-money-
laundertng programs. And the fact that Crawford was fined for the company's alleged failure to create an_ -

effective anti-money-laundering program ls seen by acme as unfalr.

"Finra has served notice that there is personal responsibility for a company falling to implement an adequate
program." said Kevin Petra'slc. a partner in the Waahlngton office of law firm Pa_l.rl_lia_s_tigg§_t_.££. whose

practice lncludes anil-monay-|aundering litigation

"it ls a no-win situation and a bit draconlan," he sald. "AML compliance officers are ln a barbeli on this. They
want to put a program in piace..and Finra expects that program to worlr, but sometimes the senior
management doesn't want to pay for the resources, so they choose not to implement the program. and the
AML officers are in the middle between management and th'e regulators. Who wants that lob?"

ln Crawford's cese. he wentto Brown Brothers' management and proposed changes that would anent the ami~
money-laundean program, according to documents that Finra staff filed ln their administrative action. ln
November 2011, Crawford and other Brown Brolhers compliance staff are said to have recommended that the
nrm stop executing trades for penny stocks below a certain threshold value. They are also said to have
recommended that the ilrrn require omnibus account clients that wished to offer brokerage services to their

own customers to set up a disciosed subaccounts.

Brown Brothers did not change how it handled penny stocks until last June, according to Finra.

Omnibus accounts are often held in the name of foreign financial intermediaries who, in turnl are handling
stocks ior clients that might not be known to the U.S. broker-dealer. Finra has told broker-dealers that il is
important to know_who are the actual investors behind the omnibus accounw.

Antl-money laundering regulations are designed to keep money made in illegal activities from being made to
look as if lt is the product of legitimate endeavors With Finra. they center on Rule 3310. lt requires each
brokerage tirm to implement a compliance plan that la approved by a member ct senior management in writing
The plan must be designed to detect and assure the reporting of suspicious transactions The plan must also
comply with the Bank Secrecy Act and include an annual independent compliance test Flrms are also required
to identify lo Finra an individual or group responsible for the day-to-day operation of the anti-money-la underan

program
Each year |n January. Finra issues its Regulatory and E)`¢emlnation Priorities Letter which details issues where
the regulator plans to devote resources ln 2012. the letter named microcap stock fraud as an enforcement

priority.

"As a part of their antl-rnoney laundeng responsibilities member tinns are obligated to monitor suspicious
activity and to file Suspiclous Activity Reports where warranted." the 2012 latter stated

Last year. efforts against money laundering received their own paragraph in the letter.

"Flnra examiners continue to focus on AML compliance. particularly at firms with higher-risk business models
due to their cllents, products and service mix or location in which they operate."

 

 

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Finra focusing on money-laundering violations - Deal Pipeline Page 3 of 5

This year. Finra doubted tire space in its letter devoted to elibrts against money laundering The regulator said
ll planned to focus on institutional business as weil as a trend of broker-dealers net pursan the identities of

some shareholders in transactions disposing of large volumes ot low-priced stocks

"l think what is going on is obvious," said a former Finra olilctei who now consuiis on anll-money-iaundering
issues. "Flnra feels like these regulations have bean on the bodies for whai, 11, 12 years? The nrms have had a
chance to put AML programs in place, hire good people, and still there are problems So Finra lumps the lines
to get their ettention. They are saying, We are serious and unless you take care ofthls. it is going to cost you

sense reel money."'
Paul Tyrreil, of counsel in the Boston cities of law linn Sidiey Austin LLP. said that some |n the brokerage
industry have been rattied by Finra's targeting of individuals for enforcement of enti-monay-launderlng ruies.

 

'Where is the Ine being drawn?" he said. '| don'l know and nobody else does either. What we are seeing in the
lanti-money-laundertng] emma ls that Finra is being more robust. running it down to the end. They are asking
what you dtd, and when you did lt. and people are worried that Finra is now looking at AML otilcers, branch

managers and even individual representatives."

For example, in March 2013. the regulator accused James Pilla. a registered representatives cl Amertprise
Financiai Services inc., of failing to report red flags raised by penny stock trades in 26 of his client accounts
end failing to meet face-to-t'aee with 59 of his clients to verify their identities before opening their accounts. His
actions allegedly violated Amerlprise's anli-money-iaundering procedures Finra suspended him for three

months end lined him $16.000.
Finra liied 36 anttmoney-leundertng adicns last year. down from 45 in 2012 and 38 in 2011 . The regulator did
not make anyone available to comment forthls story.

Among its actions was a $1.4 million line against Oggegge[mer Holding lnc. last August for alleged
violations that included a failure to conduct due diligence on foreign iinanciai intermedia ries. Finra claims that

from August 2008 through September 2010. Oppenhelmer sold 1 billion unregistered penny stock shares on
behalf ot 13 clients, without performing due diligence on the status of the shares The lirm also allegedly failed
to probe suspicious trading by a Balternas-based broker-deaton Oppenheimer agreede pay the line without

admitting or denying Finra's allegations

in December, Finra lined COR clearing LLC of Omaha, Neb., $1 million over allegations that. for three years
beginning in 2009. the firm failed to establish and implement entt-money-iaundertng policies and lor a lime |n
2012, lls enti-money-launderlng program had almost collapsed COR accepted the penalty without admitting or

 

 

denying the allegations
Both COR and Oppenheimer were required to hire independent consultants to monitor and evaluate their anti~

money-laundering programs

Worid Trade Financiai Corp., a San Diego-based brokerage iirm, was the subject of a $250.000 line alter Finra
alleged it violated anti-money-laundering regulations by not setting up end enioroing supervisory procedures
From March 2009 to August 2011. Worid Trade bought end sold 2?.5 billion shares ofa dozen different penny

stocks on behalf of one citent. Those shares were unregistered end not eligible for an exemption trorn
registration requirements according to Flnra. The transactions generated 561 million in proceeds tor the client

The business generated by those transactions was the lion’s share of Worid Trade's business
The nrm accepted the line without admitting or denying the allegations

The link between anti~money-iaundering regulations involving omnibus accounts and penny stock trading is a
omitting topic ot conversation in the brokerage industry.

 

 

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Finra focusing on money-laundering violations - Deal Pipeline Page 4 of 5

'it is what everybody is talking aboui, and the recent Brown Brothers bust has really made ii obvious that‘s
what Finra is wanted about as well." said one brokerage hrm executive.

The connection was brought into sharp focus by the SEC's recent lawsuit and emergency asset freeze order
against John Bablkian, a Canadian national who the commission claims is behind the now defunct stock
promoter Awesome Penny Stocks.

At the SEC's request. the iederai court in Manhatlan froze assets belonging to Bablkian including two homes in
Los Angelos. farm and vineyard land in Oregon and a fractional interest in a corporate jet.

in its lawsuit filed last month, the SEC alleged that Bablkian sold 1.3 million shares of coal mining company

Amonca Wgt Msouggg |gg. on Feb. 23, 2012. ln 90 rninuies. after first promoting the stock to 700.000
subscribers to Awesome Penny Stocks' e-mell newsletters. He allegedly made $1.9 million. selling the shares

through en omnibus account with Swiss bank Frankturter Bankgesellscheh (Schweiz) AG maintained by Brown

Brothers,
in a set of Finra internal records from 2012 and 2013 obtained by The Deall the regulator said lt has initiated
probes ot suspicious trading activity involving offshore entitles tied to pump and dumps in Tgron !gg.. U.S.

Highiand inc., Blohsmex Corp., Goff Cg[g, and Marine Drivg Mg§iie Co[g. Those reports were furnished to

the SEC.

The offshore brokerage iirms cited by Finra in those reports include Caiedonian Global. Caiedonian Bank Ltd.l
Caiedonian Securities Lid.. Ciearwaier Securities lnc.l Legacy Giobai Markets SA. Argus Stockbrokars Ltd.,
CBH Compagnie Bancaire Helvetique SA, Bank Gutenberg AG, Sherman Capital, Rigl Capital and Verdmont
Capital SA.

The regulator obtained trading records regarding the omnibus accounts fmm Scottsdaie Capital, Brown
Brothers, Vorticat grothl Knight Execuiion and Clearing Services LLC, OC Securities lnc. and Ascendiant
Capital Markets LLCl according to the Finra reoords.

Scottsdaie is already the subject of investigations by Finl‘a. the SEC end the FBl pertaining to an unusual $34
million pump and dump involving a German company known as Biozoom inc., according to a person familiar
with the situation. Scottsdaie's clearing agency and related entity. Salt Lake City~based Alpine Securities is
also a part ot those probes.

The iirms have provided securities officials with documents pertaining to the Biozoom trades and shareholders,
including those sought under a request from the SEC and Finra that employees turn overall personal notes
regarding Biozoom. Scottsdaie and Alpine were also forbidden from destroying any Biozoom records.

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The account documents fumlshed by the Biozoom shareholders ted to speculation that members of the group
were not the real investors, but instead were simply nominees. None of the Argentines listed investor as their
profession, and none of them deposited or traded ln any oth'er stoclcs, according t,o a person familiar with the
investigation. The Argentine group is said to have included rstlwd teachers and the owner of a delicatessen.

 

 

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Case 1:16-cv-00545-.]L Document6 Fi|e

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d 12/28/16 Page 85

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Finra focusing on money-laundering violations - Deal Pipeline Page 5 of 5

Scottsdaie Advisors is said to have given the Biozoom shareholders parks that were not available to other
olienls. They eubmtded trade orders by e-mai or instant messaging, whlch the mm did not altow far most
cllents. The Biozoom shareholders were also charged commlsslons of|ust 2%. while other cllents paid 4% to

4.5%.

The Biozoom shareholders \Mere also allowed to wire funds from their accounts to banks ln Cyprus.
Swiizerland. Panama and Belize, despite e standing enti-money-laundertng polloy al Scottsdaie that usually
only allows clients to wire funds to U.S. banks or to lnstttt.rtlons ln the country where they tive.

The SEC halted trading in Biozoom on June 25 and, tn July, asked the court for an emergency order freezing
the defendants' aesets. That kept 518 million in atook sale proceeds in the U.S. Another $17 million had_
already been wired overseas prior to the freeze.

The SEC alleges says that. from March 2013 through June, the Argentines received 20 million shares of
Btozoom, which was about one-third ot the company's stock. in May. they sold 14 million shares reaping

almost $34 million.

The shares were sold into a promotion that started May 16, as tha company Issued a series of press releasesl
and continued into June. Biozoom's share price tripled, reaohlng an intraday high of $4.50, implying evaluation

of $421 .5 million.
As ofJune 30. Biozoom owned assets valued at only $1.05 million. according to its last filing with the SEC. ln
the quarter ending June 30. the company had no revenue and a loss of $328,671 .

When the stock was halted, the shares were at $3.45. When trading resumed. they plunged to 13 cents. cutting
more then $300 million trom Biozoom's market value.

Share Reprint Ssve to tviy Articles

 

 

 

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THE STATE OF NEW HAMPSH|RE
JUD|C|AL BRANCH

http:llwww.courts.state.nh.us
Court Name: Hillsborough Superior Court Northern District
Case Name: Scottsdale Capital Advisors Corp., et al v. The Deal, LLC, et al
Case Numb€tf 216-2016-CV-00819

(if known)
APPEARANCENV|THDRAWAL
APPEARANCE
Type of appearance (Se|ect One)
|ZI Appearance Ij Limited Appearance (Civr`l cases on/y)

lf limited appearance, scope of representation:

 

 

Select One:

As Counsel for:
The Deal. LLC
(Name) -

William Meagher
(Name)

(Address) (Telephone Number)

(Address) (Telephone Number)

 

(Name) (Address) (Telephone Number)
I___] | will represent myself (self-represented)

W|THDRAWAL
As Counsel for

 

Type of Representation: (Se|ect one)

|:I Appearance:
|:l Notice of withdrawal was sent to my client(s) on: at the following address:

 

I:l A motion to withdraw is being filed.
I:| Limited Appearance: (Se|ect one)
[:| l am withdrawing my limited appearance as l have completed the terms of the limited
representation
I:I The terms of limited representation have not been completed. A motion to withdraw is being
filed.
l certify that on this date l provided a copy of this document to the parties who have filed an
appearance for this case by: |:l Hand-delivery OR US Mail OR l:l Email (only when there is prior_

 

 

 

 

 

 

 

agreement of the parties to use this method of service). ,,,?‘.\ /_ x
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December 22, 2!!!§ \t-’ "‘€‘ ` "sr “JE/
Date Signature L_V
Shahcen & Gordon, P.A. _ Steven M. Gordon
|Vlailing Address Printed Name `
P.O. Box 2703, Concord, NH 03302-2703 gordon@shaheeng§don.com
Email Address
(603) 225-7262 964
Te|ephone NH Bar lD # if attorney

NHJB-231as (03/24/2014)

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THE STATE OF NEW HAMPSHIRE

HILLSBOROUGH, SS. SUPERIOR COURT
NORTHERN DISTRICT Dockct No.
Scottsdale Capital Advisors Corp.
and
John Hurry
v.

The Deal, LLC and William Meagher
COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW Plaintiffs Scottsdale Capital Advisors Corp. (“SCA”) and John Hurry
(“Mr. Hurry”) (collectively “Plaintiffs”) with Complaint against Defendants The Deal, LLC

(“The Deal”) and William Meagher (“Mr. Meagher”) (collcctively, “Dcfendants”) and shows the

Court the following:
PARTIES
1. Plaintiff SCA is an Arizona corporation, having its principal place of business at

7170 E. McDonald Dr. #6, Scottsdale, Arizona 85253. At all relevant times, SCA Was and is a
securities broker dealer engaged in the business of holding and trading in securities and Was and
is a registered member firm of the Financial lndustry Regulatory Authority, Inc. (“FINRA” , a

private corporation which regulates the securities industry.

2. Plaintiff Mr. Hurry is an individual residing in Glenbrook, Nevada Who maintains
a business office in Glenbrook, Nevada. At all relevant times, Mr. Hurry was and is an executive

officer of SCA. Mr. Hurry and SCA do substantial business in the micro-cap and small cap

securities sector.

3. On information and belief, Defendant The Deal is a Delaware limited liability

company, having its address and principal place of business at 14 Wall St., 15th Floor, New

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York, NY 10005. On information and belief, The Deal publishes print and electronic
publications concerning the financial sector, including T he DealF low Report (“DealFloW”) and
771e Deal Pipeline (“Pipeline”). On information and belief, The Deal’s publications are
physically and electronically distributed to subscribers by The Deal and its parent/affiliate,
TheStreet.com. On information and belief, The Deal’s publications, including DealF low and
Pipeline, enjoy a substantial circulation, especially to members of and those with an interest in
the financial sector (especially the micro-cap and small cap securities sector), and are distributed
to paid subscribers in New Hampshire.

4. On information and belief, Defendant Mr. Meagher is an individual residing in

California who is employed as a writer by The Deal and TheStreet.com.

 

JURISDICTION AND VENUE
5. This Court has subject matter jurisdiction over this action pursuant to N.H. R.S.A.
491 :7.
6. The Court has personal jurisdiction over Defendants because they committed

tortious acts in New Hampshire. On information and belief, Defendants publish online content
for distribution to paid subscribers within the state of New Hampshire, thereby availing

themselves of New Hampshire law and the benefit of conducting activities in the forum state.

7. New Hampshire has a strong interest in this litigation, as the tortious acts caused
injury in New Hampshire.
8. Having the case heard in New Hampshire provides the Plaintiffs with an effective

and convenient forum to obtain relief, and the acts of the Defendants are intertwined, such that

interstate judicial efficiency is served by avoiding multiple lawsuits.

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FACTUAL BACKGROUND

9. On December 6, 2013, an article written by Mr. Meagher appeared in Deal
Pipeline entitled “FBI, securities officials investigating Scottsdale Capital, Alpine Securities,
source says” (“December 6 Article”). §§ Exhibit A. The December 6 Article falsely stated that
Plaintiffs and their affiliated companies were being criminally investigated and being
investigated by securities regulators. The December 6 Article further falsely stated that Plaintiffs
engaged in favoritism towards shareholders of a company named Biozoom, including by
allowing them to trade in violation of SCA policies and giving them special perks. The
December 6 Article also falsely stated that Plaintiffs ignored “red flags” with respect to Biozoom
transactions

10. On March 20, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled “SEC requests default judgment in $34M Biozoom pump-and-dump case” (“March 20
Article”). §§ Exhibit B. The March 20 Article falsely stated that Plaintiffs and their affiliated
companies were being investigated by the FBI, and were the targets of criminal and securities
investigations The March 20 Article also falsely stated that Plaintiffs were involved in a “pump
and dump” scheme with Biozoom, (According to Wikipedia, “‘[p]ump and dump’ (P&D) is a
form of microcap stock fraud that involves artificially inflating the price of an owned stock
through false and misleading positive statements, in order to sell the cheaply purchased stock at a
higher prioe”.) §§ https://en.Wikipedia.org/wiki/Pump_and_dump.

1 1. On April 16, 2014, an article written by Mr. Meagher appeared in Deal Pipeline
entitled “Finra focusing on money-laundering violations” (“April 16 Article”). §§ Exhibit C.

The April 16 Article repeated the false claim that Plaintiffs and their affiliated companies were

under FBI investigation.

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12. The statements in the December 6, March 20, and April 16 Articles are false and
defamatory. Mr. Hurry and his companies, including SCA, enjoy an excellent reputation, and at
all times conduct themselves in accordance with high ethical standards, and had not been under
any criminal or regulatory investigation at the time that Mr. Meagher’s articles were published.
Plaintiffs were not involved in any “pump and dump” scheme and never gave special treatment
to Biozoom shareholders

13. The defamatory statements made by Defendants have substantially harmed
Plaintiffs’ business relationships Plaintiffs and their affiliated companies have seen brokerage
and bank accounts closed, longstanding banking relationships severed, proposed business
transactions halted, and investments hampered, delayed, or declined as a result of the defamatory
statements made by Defendants ln addition to causing actual damages, the defamatory
statements constituted defamation per se because they were the type that would tend to injure
Plaintiffs in their trade or business

COUNT I - DEFAMATION
14. Plaintiffs incorporate by this reference Paragraphs 1 through 13 of this Complaint

as though fully set forth herein.

15. Defendants have published false and defamatory statements of fact about

Plaintiffs

16. The false and defamatory statements were made without the privilege to do so and

concern the personal, professional and business reputations of SCA and Mr. Hurry.

17. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

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COUNT II ~ INVASION OF PRIVACY,’ FALSE LIGHT

18. Plaintiffs incorporate by this reference Paragraphs 1 through 17 of this Complaint
as though fully set forth herein.

19. Defendants published private information that portrayed Plaintiffs in a false light.

20. The false light in which Defendants placed Plaintiffs Would be highly offensive to
a reasonable person.

21. Defendants knew that the assertions they published were false and/or acted in
reckless disregard as to the falsity of the publicized matter and the false light in which Plaintiffs
would be placed by those assertions

22, As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT IH - INTENTIONAL INTERFERENCE WITH CONTRACTUAL
RELATIONS

23. Plaintiffs incorporate by this reference Paragraphs l through 22 of this Complaint
as though fully set forth herein.

24. Defendants knew that Plaintiifs, being securities broker dealers engaged in the
business of holding and trading in securities, had business relationships which Would have been
completed had it not been for Defendants’ unlawful acts

25. Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by
intentionally and unjustifiany interfering with their actual business relationships

26. On information and belief, as a direct result of Defendants’ publication of
defamatory statements about Plaintiffs, Plaintiffs have lost business relationships and/or

Plaintiffs’ existing business relationships have been harmed.

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27. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

COUNT IV - TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
ADVANTAGE

28. Plaintiffs incorporate by this reference Paragraphs 1 through 27 of this Complaint
as though fully set forth herein.

29. Defendants knew that Plaintiifs, being securities broker dealers engaged in the
business of holding and trading in securities, had a reasonable expectation of entering into valid

business relationships which would have been completed had it not been for Defendants’

unlawful acts.

30. Defendants, through the misconduct alleged herein, intended to harm Plaintiffs by

intentionally and unj ustiiiably interfering with their prospective business relationships

31. On information and belief, as a direct result of Defendants’ publication of
defamatory statements about Plaintiffs, Plaintiffs have lost business relationships and/or

Plaintiffs’ prospective business relationships have been harmed.

32. As a direct and proximate result of Defendants’ conduct, SCA and Mr. Hurry

have suffered economic losses in an amount that will be established at trial.

WHEREFORE, Plaintiffs SCA and Mr. Hurry, respectfully request:

A. An award of general, special, and enhanced compensatory damages within the

jurisdictional limits of the Court;

B. An injunction enjoining the further publication of the false statements in

Defendants’ articles;

C. An award of attorneys’ fees in connection with this matter;

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D. An award of interest and all costs incurred in connection with this matter; and

E. Such other and further relief as may be appropriate based on the allegations

herein.

JURY DEMAND

PLAINTIFFS SCOTTSDALE CAPITAL ADVISORS CORP. AND JOHN HURRY

DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

/
Dated: //A 9///6
/ /

Dated: aig/44
/ /

Respectiiilly submitted,

SCOTTSDALE CAPITAL ADVISORS CORP.
AND JOHN HURRY

By their attorneys
DEVINE, MILLIMET & BRANCH, P.A.

   

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HARDER, MIRELL & ABRAMS, LLP

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Charles J. Harder (CAB # 184593)
Pro Hac Vice to be filed _
Jordan Susman (CAB # 246116)
Pro Hac Vice to be filed

132 South Rodeo Drive, 4th Floor
Beverly Hills, CA 90212
424-203-1600

By:

 

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FBI, securities officials inv .1gating Scottsdaie Capital, Alpine Securit_ , source says - Deal Pipeline

 

 

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FBl, securities officials investigating Scottsdaie
Capital, Alpine Securities, source says

By Bill Meagher Updated 09:05 PM, Dec-06-2013 ET

The FBl, the Securities and Exchange Commission and the Financiai industry Regulatory Authority have
opened investigations into the involvement of Scottsdaie Capital Advisors and Alpine Securities in the trading

of Biozoom lnc., according to a person familiar with those investigations

lnvestors in Biozoom lost some $300 million after the SEC halted trading in the stock in June. The commission
cited "a lack of current and accurate information" about the stock and suspicions that the company and some
shareholders may have illegally sold unregistered shares to the public.

Before it allowed trading in Biozoom to resume in Ju|y, the SEC obtained an emergency order from the U.S.
District Court in Manhattan, freezing almost $16 million in cash in U.S. brokerage accounts.

Another $17 million in trading revenues connected to sales of Biozoom shares was wired overseas before the
court order, the SEC claimed in its court tiling. Another $8 million in wire transfers requested by Biozoom
shareholders were halted by the broker-dealers before they could go overseas.

The SEC also ordered the broker-dealers involved in the transactions Arizona-based Scottsdaie Capital, Salt
Lake City-based Alpine and Legend Securities lnc. of New Yorkl to preserve all of their records connected to

the Biozoom transactions

The regulator charged eight Argentine citizens with illegal sales of unregistered shares of Biozoom. The
complaint also named two other Argentines who owned shares of Biozoom but did not sell them prior to the

asset freeze. '

Biozoom, which lists Kassell Germany, as its headquarters purports to manufacture a "biofeedback device"
that consumers can use to monitor and analyze data related to their health. The company went public in
February through a reverse merger with registered shell company Entertainment Art lnc. and raised $1.15
million in a private placement to an investor whose identity was not disclosed.

The stock was the subject of an unusual promotion four months |ater. Recommendations for Biozoom stock
appeared in at least 13 e-mai| newsletters, according to Hotstocked.oom, a website that tracks stock
promotions Legal disclaimers that accompanied the promotions claimed that no compensation had been paid

 

 

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FBI, securities officials inv .igating Scottsdaie Capital, Alpine Securit. , source says -»Deal Pipeline

for the stock-friendly hype. Legal disclaimers in penny stock newsletters often identify the companies that pay
for stock promotions and sometimes provide details of the compensation, as is required under securities law.
Some stock promotion budgets run as high as $3 million.

One of the promotions claimed that Biozoom's "hand held device for the non-invasive transderma| analysis of
antioxidants and other biomarkers in the human body... replaces expensive. time consuming and invasive

blood tests."

"Future applications future roll-out markets and applications are even more impressive,'l another newsletter
stated. "Re|evant biomarkers can and will be identified and analyzed for things such as cholesterol, alcoho|,
various illegal drugs smoke. poisonsl and blood pressure - to name a few. The unit is being further developed
to measure blood sugar levels, tapping into a staggering $220 billion a year diabetes market in the U.S. and
350 million people with diabetes around the world."

Biozoom stock was also promoted in an unusual advertising campaign that made use of mainstream media
outlets, including the New York Times and USA Today. ln June. ads that took up most of a full page were
placed in those newspapers that ostensibly promoted a London-based publication called Giobai Financiai
insights But, while the ads included subscription information and other details about the publicationl most of
their space was taken up with the magazine's recommendation of Biozoom stock.

A full-page black and white ad in USA Today could have cost $125,000, according to information that the
newspaper distributes to advertisers A similar New York Times ad would run $80,000 to $100,000, according

to a newspaper spokesperson.

Both ads featured a headline that readl "lnnovative Technology Company invents Real 'Star Trek' Medicai
Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also featured prominently in an advertisement for a newsletter called
TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 214-page publication about Biozoom, which was distributed
May 16, the day that Biozoom began trading at $1.10. The report valued the shares at $10.30.

Biozoom started trading with a thin volume of about 10.000 shares a day. The $1.10 share price implied a
market value of $108.6 million for the company.

But when the promotion began to pick up speed, the shares rose to $1.50 on their way to an intraday high of
$4.50 and a market cap of $421.5 million. Trading volume jumped as high as 11.7 million shares

When the stock was haltedl the shares were at $3.45. When trading resumed, they plunged to 13 cents. giving
Biozoom a market capitalization of just $9.56 million. investors lost more than $300 million.

Finra and SEC oflicials declined to comment for this story. An FBl spokesman would neither confirm nor deny
the existence of a criminal probe tied to Biozoom trading.

But a source who has spoken to investigators said the investigations are ongoing. The probes by Finra and the
SEC began in Mayl prior to the trading halt.

The brokerage firm Scottsdaie Capital is owned by Scottsdaie Capital Advisors Holdings LLC and the Hurry
Famiiy irrevocable Trust. Alpine is owned by SCA Clearing LLC. Both Scottsdaie and Alpine are controlled by
John Hurry, who is a director of both companies Hurry's wife .iustine is a director with Scottsdaie and a

minority owner.

The horne pages of both Scottsdaie Capita|'s and Alpine's websites feature the same motto, "At the top of the
Smal| Cap Market," along with a photo of a mountain peak. For Scottsdale, it is a desert mountain. For Aipine,

it's a snow capped peak.

 

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FBl, securities officials invtv_.igating Scottsdaie Capital, Alpine Securitr.i}:; source says - Deal Pipeline

The SEC complaint alleges that six of the shareholders named in the action, Magda|ena Tavellal Adriana
Bagattln, Danieia Goidman. Mariano Graciarena, Femando Loureyro and Mariano Ferrari, opened accounts at
Scottsdaie between May 10 and June 14. The other shareholders named by the SEC - Andres Ficicchia,
Gonzaio B|aya, Lucia Hernando and Cecilia De Lorenzo - opened trading accounts at Legend Securities from
January through March, according to the SEC. Ficicchia also had an account at Scottsdaie.

ln all, the Biozoom shareholders deposited 20.1 million shares in the trading accounts which represented 100%
of the share float that did not carry a trading restriction. Those shares represented about 33% of the total

shares in the company.

None of the Biozoom shareholders contacted by e-mail, responded to a request for comment from The Deal.

Legend Securities is owned by Stocktrade Network lnc., Chris Cacace, Salvatore Caruso, Anthoriy Fusco and
Mark Suiavka. according to Finra reoords.

The SEC claims that when the Argentine shareholders opened their trading accounts at Scottsdaie and
Legend, they provided documents and sales receipts purporting to show that they had bought their shares
between Feb. 19 and March 15 from the original shareholders of shell company Entertainment Art. But the
SEC states in its complaint that ali of the Entertainment Art shareholders sold their shares to Medford Financiai
Ltd. in 2009. Medford in turn was purchased by Le Mond Capital, a British Virgin lslands-based flrm. for
$430,000 last year. Le Mond was controlled by Sara Deutsch, who became CEO of Entertainment Art.

When the reverse merger took place in February. Deutsch paid $50,000 and 39 million shares to complete the
transaction with four German entities for intellectual property that became the basis for Biozoom, The deal left
her with 20.1 million shares Deutsch became a director and assistant secretary for Biozoom, and in doing so.
became what the SEC considers to be a control person.

The commission alleges that the shares Deutsch controlled were the shares that were actually distributed to
the Argentine shareholders and that the stock sale agreements they used to help open the trading accounts at
Scottsdaie and Legend were fakes. Since Deutsch was a control person, any shares she distributed would be

restricted and not free trading.

Deutsch ran a restaurant in Buenos Aires along with Magda|ena Tavella called Magda|ena‘s Partyl according
to the SEC complaint Tavella was one of the Biozoom shareholders who traded through Scottsdaie.

Miiler Piace, N.Y.-based securities attorney Randail Gouiding supplied a legal opinion for all of the Biozoom
shareholders based in part on the stock sale documents portraying the transactions with original
Entertainment Art shareholders the SEC claimed in a court filing requesting the asset freeze. His opinion letter
stated that the share certificates could be deposited without restrictions based on an exemption from
registration provided by Rule 144 of the Securities Act. He said that the sellers were not affiliates of the
company and had held the shares for more than four years and that the account holders were not individually
or collectively the beneficial owner of more than 10% of the common shares of the company.

On June 19l Gouiding e-mai|ed the general counsel for Legend saying, “l hereby withdraw all of my opinions
issued for the securities of Biozoom, formerly Entertainment Art. Be advised that none of these opinions should

be relied upon," according to the SEC

San Antonlo-based securities lawyer David Wisel who had supplied a similar legal opinion letter to Scottsdaie
for Tavella and Goidman on May 20, withdrew his letter June 26. Wise sent an e-ma|l to Scottsdaie that in part
read, “lt has been brought to our attention that the SEC recently suspended trading in Biozoom. lt has also
been brought to our attention that Tavella and Goidman may have provided inaccurate or misleading
information and documentation to Scottsdaie and to this firm.“

A number of factors make it appear that the Biozoom shareholders were connected in an organized effort.

 

 

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FBl, securities officials inv lgating Scottsdale Capital, Alpine Securit. , source says - Deal Pipeline

Finra also talked with John Hurry, that same source sald.

Scarpino, who processed the Argentine accounts connected to the Biozoom trades, resigned from his position
at Scottsdaie. He declined comment for this story. Ashton. who was a compliance analystl also is no longer

with the tinn. Efforts to reach him failed.

Amdt is the office manager end oversees trading. Noiman and Diekmann are in compliancel and Diblasi is
chief operating officer. Cruz is chief counsell and Fiandaca handles wiring of funds

Diekmann denied he participated in the OTRs with Finra in a very brief phone interview.

None of the other Scottsdaie staff questioned by Finra returned phone calls from The Deal seeking comment
regarding the OTR's about Biozoom.

Geraid Russel|o, a partner at the law firm of Sidiey Austin LLP in New York, said that Scottsdaie and Alpine
would have no comment regarding Biozoom trading or the investigations by Finra, the SEC and the FB|.
Russe||o is a securities lawyer and former SEC enforcement branch chief.

Richard Kirby, a partner with K&L Gates LLP in Washington who represents Legend Securitiesl said he does
not know if the SEC is concerned with how Legend conducted itself with regards to the Biozoom trades, but he
said that Legend had not filed any notice with Finra regarding an SEC investigation.

Kirby also said that Legend alerted the SEC to its concerns regarding Biozoom and that the broker-dealer had
acted on its own to freeze accounts tied to the Argentine nationals prior to the SEC action Juiy 7.

While Legend did complete a June 13 $600,000 wire transfer for Luciana Hernando to Hellenic Bank Pubiic
Co. in Lemesosl Cyprus, it refused Hernando's request to move $2 million to the same bank on June 17.
Legend also refused a wire request from Blaya June 14 to transfer almost $3.5 million to a bank ln Geneva,

according to the SEC complaint

Meanwhile, John Hurry, who controls both Scottsdaie and Alpine, is in negotiations to buy Salt Lake Ciiy-based
broker-dealer Wilson-Davis & Co., according to a person with knowledge of the dea|.

 

Representatives of Wilson-Davis did not return phone calls from The Deal seeking comment. Scottsdaie

representatives declined to comment.

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SEC requests default judgment in $34|\/| Biozoom pump-and-dump case By Bill Meagher Updated 04:10
PM, Mar-20-2014 ET

The Securities and Exchange Commission plans to request a default judgment against the 10

Argentine residents who have been named as defendants in the $34 million Biozoom Inc. pump-
and-dump case after two law firms representing the Argentines asked to withdraw from the case.

The SEC filed a letter Tuesday, March 18, with Judge Naomi Buchwald in the U.S. District
Court in Manhattan, stating that it planned to request the judgment because the defendants had
failed to respond to the lawsuit by court ordered deadlines

F our days earlier, attorney Marc Agnifilo had informed the court that his flrm, New York-based
Brafman & Associates PC, Would withdraw as counsel to the Argentines

Brafman is the second firm that has represented the group charged with selling 20.3 million
shares of Biozoom without proper registration In September, McLaughlin & Stern LLP also
withdrew.

Brafman is a high-profile criminal defense firm that has counted crime boss Salvatore "Sammy
the Bull" Gravano, rapper Sean Combs and former International Monetary Fund chief
Dominique Strauss-Kahn among its clients.

 

Agnifilo declined to comment on the firm's Withdrawal from the Biozoom case. In his letter to
the court, he said that Brafman had been told by the Argentines that it Would be retained, but that

a retainer agreement was never signed.

Those named as defendants are Magdalena Tavella, Andres Horacio Ficicchia, Gonzaio Garcia
Blaya, Lucia Mariana Hernando, Cecilia De Lorenzo, Adriana Rosa Bagattin, Daniela Patricia
Goldman, Mariano Pablo Ferrari, Mariano Graciarena and Fernando Loureyro.

None of them responded to e-mails requesting comment.

A person familiar with the case said that Buenos Aires-based lawyer Juan lgnacio Prada has been
seeking representation for the group. Prada did not respond to a request for comment.

Patrick Bryan, assistant chief litigation counsel for the SEC, said the commission will file
paperwork to pursue the default judgment in the next month. He declined to comment further.

The SEC filed the lawsuit last July, claiming that the Argentines had opened brokerage accounts
at Arizona-based Scottsdale Capital Advisors and New York-based Legend Securities Inc.,
depositing shares and providing paperwork stating that the stock was purchased from
shareholders in Entertainment Arts Inc., the registered shell company that had merged with
Biozoom to bring it public in February 2013.

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Biozoom, which lists Kassel, Germany, as its headquarters, claims to produce a "biofeedback
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that the Entertainment Art investors had sold all of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members
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Argentines listed investor as their profession, and none of them deposited or traded in any other
stocks, according to a person familiar with the investigation.

The Argentine group is said to have included retired teachers and the owner of a delicatessen.

Scottsdale Advisors is said to have given the Biozoom shareholders perks that were not available
to other clients. They submitted trade orders by e-mail or instant messaging, which the firm did
not allow for most clients. The Biozoom shareholders were also charged commissions of just
2%, while other clients paid 4% to 4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in
Cyprus, Switzerland, Panama and Belize, despite a standing policy at Scottsdale that usually only
allows clients to wire funds to U.S. banks or to institutions in the country where they live.

The SEC halted trading in Biozoom on June 25 and, in .luly, asked the court for an emergency
order freezing the defendants' assets. That kept $16 million in stock sale proceeds in the U.S.
Another $ 17 million had already been wired overseas prior to the freeze.

The SEC alleges says that, from March 2013 through June, the Argentines received 20 million
shares of Biozoom, which was about one-third of the company's stock. In May, they sold 14
million shares reaping almost $34 million.

The shares were sold into a promotion that started May 16, as the company issued a series of
press releases, and continued into June. Biozoom's share price tripled, reaching an intraday high
of $4.50, implying a valuation of $421.5 million.

As of June 30, Biozoom owned assets valued at only $1.05 million, according to its last filing
with the SEC. 111 the quarter ending June 30, the company had no revenue and a loss of

$328,671_.

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13
cents, cutting more than $300 million from Biozoom's market Value.

The promotion was unusual in the form it took. It included advertising in mainstream media
outlets, including the New York Times and USA Today. In June, ads that took up most of a iiill
page were placed in those newspapers that ostensibly promoted a London-based publication
called Global Financial Insights. But, while the ads included subscription information and other

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details about the publication, most of their space was taken up with the magazine' s
recommendation of Biozoom stock.

Both ads featured a headline that read, "Imiovative Technology Company Invents Real 'Star
Trek' Medical Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also feattu'ed prominently in an advertisement for a
newsletter called TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which
was distributed May 16, the day that Biozoom began trading at $1.10. The report valued the

shares at $10.30.

The FBI and the Financial lndustry Regulatory Authority have been investigating the
involvement of Scottsdale and Alpine Securiti.es, its Salt Lake City-based clearing frrm, in
connection with the Biozoom stock sales since May, according to a person with knowledge of

the probe.

The firms have provided securities officials with documents pertaining to the Biozoom trades
and shareholders, including those sought under an unusual request from the SEC and Finra that
employees turn over all personal notes regarding Biozoom. Scottsdale and Alpine were also
forbidden from destroying any Biozoom records.

Finra has scheduled an audit of Scottsdale at the end March, according to a person familiar with
the investigation.

Representatives of the SEC, Finra, Scottsdale and Alpine declined to comment. An FBI
spokesman said the agency will neither confirm nor deny the existence of an investigation.

Read more: http://pipe|ine.thedeal.com/tdd/ViewArticle.dl?id=10007955861#ix222wbopc:va

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Finra focusing on money-laundering violations

By Bill Meagher Updated 07:00 PiVi, Apr-1S-2014 Ei‘

On March 10. the staff at Scottsdaie Capital Advisors was startled when their receptionist called out into the
office, "Finra is here!"

While representatives from the Financiai industry Regulatory Authority were expected at the end of the month
for a scheduled two-week exam, this visit had nothing to do with that appointment Rather. the investigators
asked for files relating to overseas clients and omnibus accounts. which are owned in the names of other
brokerage firmsl accordinth a person familiar with the rald.

That person said that a group of Finra investigators hauled away copies of documents regarding omnibus
accounts at Scottsdaie that included those owned in the names of Belize-based Titan international Securities .
lnc. and Cayman islands-based Caiedonian Giobai Financiai Services lnc.l and a Cayman account linked to

Scottsdaie owner John Hurry.

Geraid Russellol a partner with the law Nrm of Sidiey Austin LLP who represents Scottsdaiel declined to
comment. Representatives of Titan international did not return a phone call seeking comment.

Caiedonian Giobai CEO Kobi Dorenbush said his firm had not been contacted by any U.S. regulators.

The action at Scottsdaie's Arizona offices came a month alter brokerage tirm Brown Brothers Harrlman &
ga was fined a record $8 million by Finra in a settlement over alleged violations of anti-money laundering
regulations Finra also levied a $25,000 line and a one-month suspension from the securities industry against
Harold Crawford. the New York-based tirm's former anti-money-iaundering compliance officer.

 

Finra said that, from January 2009 to June 2013l Brown Brothers executed trades or delivered securities in
transactions involving at least 6 billion penny stock shares, with many of those transactions made through
omnibus accounts on behalf of clients that the firm could not identify. Some of the $845 million in proceeds
were allegedly wired to Switzerland, Guernsey and Jersey, countries with strong bank secrecy laws. Those
locations and transactions should have raised red flags with Brown Brothers and prompted the firm to nie
suspicious activity reports under federal anti-money-laundering regulationsl according to Finra.

Brown Brothers agreed to the settlement without admitting or denying Finra's tindings. The firm also issued a
statement saying it had changed its procedures for handling low-priced securities and for surveillance of

 

 

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activity in low-priced securities to "mltigate a possible recurrence of this matter." Brown Brothers also said that
the activity covered by the settlement represented a small part of its investor sen/lees business and did not
involve its investment management or private banking business.

Some violations of ami-money-laundering regulations have been closely linked with stock manipulation and
pump-and-dumps of microcap stocks. both of which have been identified as priority areas for enforcement

action by Finra and the Securities and Exchange Commlssion.

Finra's action against Brown Brothers has gotten the attention of broker-dealers. ami-money laundering
consultants and lawyers fortwo reasons The iine. the largest ever handed down for an anti-money-laundering
violation by Finra, has served notice that the regulator is serious about firms cleaning up their antl-money-
laundering programs. And the fact that Crawford was fined for the company's alleged failure to create an
effective anti-money-laundering program is seen by some as unfair.

"Finra has sen/ed notice that there is personal responsibility for a company falling to implement an adequate
program." said Kevin Petrasic, a partner in the Washington office of law firm Paul Hastings LLPl whose

practice includes anti-money-iaundering litigation.

"it is a no-win situation and a bit draconian," he sald. "AML compliance officers are in a barbeli on this. They
want to put a program in place, and Finra expects that program to work, but sometimes the senior
management doesn't want to pay for the resources, so they choose not to implement the program. and the
AML officers are in the middle between management and th'e regulators. Who wants that jcb?“

in Crawford's case, he went to Brown Brothers' management and proposed changes that would affect the anti-
money-laundering program, according to documents that Finra staff filed ln their administrative action. in
November 2011, Crawford and other Brown Brothers compliance staff are said to have recommended that the
firm stop executing trades for penny stocks below a certain threshold value. They are also said to have
recommended that the firm require omnibus account clients that wished to offer brokerage services to their

own customers to set up a disclosed subaccounts.
Brown Brothers did not change how it handled penny stocks until last Junel according to Finra.

Omnibus accounts are often held in the name of foreign financial intermediaries who, iri turn, are handling
stocks for clients that might not be known to the U.S. broker-dealer. Finra has told broker-dealers that it is
important to know_who are the actual investors behind the omnibus accounts.

Anti-money laundering regulations are designed to keep money made in illegal activities from being made to
look as if it is the product of legitimate endeavors With Finral they center on Rule 3310, it requires each
brokerage firm to implement a compliance plan that is approved by a member of senior management in writing.
The plan must be designed to detect and assure the reporting of suspicious transactions The plan must also
comply with the Bank Secrecy Act and include an annual independent compliance test. Flrms are also required
to identify to Finra en individual or group responsible for the day-to-day operation of the anti-money-laundering

program.

Each year in Januaiy. Finra issues its Regulatory and Examination Priorities Letter which details issues where
the regulator plans to devote resources. ln 2012. the letter named microcap stock fraud as an enforcement

priority.
"As a part of their anti-money laundering responsibilities member firms are obligated to monitor suspicious
activity and to file Suspicious Activity Reports where warranted." the 2012 letter staied.

Last year. efforts against money laundering received their own paragraph in the letter.

"Finra examiners continue to focus on AML compliance. particularly at firms with higher-risk business models
due to their clientsl products and service mix or location in which they operate."

 

 

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This year. Finra doubted the space in its letter devoted to efforts against money laundering The regulator said
it planned to focus on institutional business, as well as a trend of broker-dealers not pursing the identities of
some shareholders in transactions disposing of large volumes of low-priced stocks.

"l think what is going on is obvious," said a former Finra ochial who now consu|ts on anti-money-laundering
issues. "Finra feels like these regulations have been on the books for what. 11 , 12 years? The firms have had a
chance to put AML programs in place, hire good people, and still there are problems. So Finra jumps the fines
to get their attention. They are saying, 'We are serious and unless you take care of this. it is going to cost you

some real money."'

Paul Tyrrell, of counsel in the Boston office of law firm Sidiey Austin LLP, said that some in the brokerage
industry have been ratt|ed by Finra's targeting of individuals for enforcement of anti-money-laundering rules.

"Where is the line being drawn?" he said. "i don't know and nobody else does either. What we are seeing in the
[anti-money-laundering] exams is that Finra is being more robust, running it down to the end. They are asking
what you dld, and when you did ltl and people are worried that Finra is now looking at AML ofticers, branch

managers and even individual representatives."

For example, in March 2013l the regulator accused James Pilial a registered representatives of Ameriprlse
Financiai Services lnc.l of failing to report red flags raised by penny stock trades in 26 of his client accounts
and failing to meet face-to-face with 59 of his clients to verify their identities before opening their accounts. His
actions allegedly violated Ameriprise's anti-money-laundering procedures. Finra suspended him for three

months and fined him $15,000.

Finra filed 36 anti-money-|aundering actions last yearl down from 45 in 2012 and 38 in 2011. The regulator did
not make anyone available to comment for this story.

Among its actions was a $1.4 million fine against Oggenhei`mer Holdings lnc. last August for alleged
violations that included a failure to conduct due diligence on foreign financial intermediaries. Finra claims that

from August 2008 through September 2010. Oppenheimer sold 1 billion unregistered penny stock shares on
behalf of 13 clients. without performing due diligence on the status of the shares. The firm also allegedly failed
to probe suspicious trading by a Bahamas-based broker-dealer. Oppenheimer agreed to pay the line without

admitting or denying Finra's allegations
in December, Finra fined COR Clearing LLC of Omahal Neb.. $1 million over allegations that, for three years

beginning in 2009, the firm failed to establish and implement anti-money-iaundering policies and for a time in
2012, its anti-money-laundering program had almost collapsed. COR accepted the penalty without admitting or

denying the aliegations.

Both COR and Oppenheimer were required to hire independent consultants to monitor and evaluate their anti-
money-|aundering programs.

Worid Trade Financiai Corp., a San Diego-based brokerage firm, was the subject of a $250,000 fine after Finra
alleged it violated anti-money-laundering regulations by not setting up and enforcing supervisory procedures.
From March 2009 to August 2011l Worid Trade bought and sold 27.5 billion shares of a dozen different penny
stocks on behalf of one client. Those shares were unregistered and not eligible for an exemption from
registration requirements, according to Finra. The transactions generated $61 million in proceeds for the client.
The business generated by those transactions was the lion’s share of Worid Trade's business

The firm accepted the fine without admitting or denying the ailegatlons.

The link between anti-money-iaundering regulations involving omnibus accounts and penny stock trading is a
growing topic of conversation in the brokerage industry.

 

 

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"lt is what everybody is talking about. and the recent Brown Brothers bust has really made it obvious that‘s
what Finra is worried about as well." said one brokerage firm executive.

The connection was brought into sharp focus by the SEC's recent lawsuit and emergency asset freeze order
against John Babikian, a Canadian national who the commission claims is behind the now defunct stock

promoter Awesome Penny Stocks.

At the SEC's requestl the federal court in Manhattan froze assets belonging to Babd<ian including two homes ln
Los Ange|esl farm and vineyard land in Oregon and a fractional interest in a corporate jet.

ln its lawsuit filed last monlh, the SEC alleged that Bablkian sold 1.3 million shares of coal mining company
America West Resources lnc. on Feb. 23, 2012, ln 90 minutes, after frrst promoting the stock to 700,000
subscribers to Awesome Penny Stocks' e-mail newsletters. He allegedly made $1.9 millionl selling the shares
through an omnibus account with Swiss bank Frankfurter Bankgesellschaft (Schweiz) AG maintained by Brown

Broth ers.

ln a set of Finra iniemal records from 2012 and 2013 obtained by The Deal, the regulator said it has initiated
probes of suspicious trading activity involving offshore entities tied to pump and dumps in Toron inc., U.S.
High|and lnc.l Bioflamex Corp., Goff Corp. and Marine Drive Mobile Corp. Those reports were furnished to
the SEC.

The offshore brokerage firms cited by Finra in those reports include Caiedonian Giobail Caiedonian Bank Ltd.,
Caiedonian Securities Ltd.l Cleanrrater Securities inc., Legacy Giobai Markets SA, Argus Stockbrokers Ltd.,
CBH Compagnie Bancaire Helvetique SA, Bank Gutenberg AG, Sherman Capital, Rigl Capital and Verdmont

Capital SA.

The regulator obtained trading records regarding the omnibus accounts from Scottsdaie Capital, Brown
Brothers, Vertical Groug, Knight Execution and Clearing Services LLC, OC Securities lnc. and Ascendiant
Capital Markets LLCl according to the Finra records.

Scottsdaie is already the subject of investigations by Finra. the SEC and the FBl pertaining to an unusual $34
million pump and dump involving a German company known as Biozoom inc., according to a person familiar
with the situation. Scottsdaie's clearing agency and related entity, Salt Lake City-based Alpine Securities is

also a part of those probes.

The firms have provided securities officials with documents pertaining to the Biozoom trades and shareholders,
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SUMMONS lN A ClVlL ACT|ON

Case Name: Scottsdaie Capital Advisors Corp., et al v The Deal, LLC, et al
Case Number: 216-2016-CV-00819

Date Complaint Filed: November 18, 2016
A Complaint has been filed against William Meagher; The Deal, LLC in this Court. A copy of the
Complaint is attached

The Court ORDERS that ON OR BEFORE:
January 07, 2017 John Hurry; Scottsdaie Capital Advisors Corp. shall have this Summons

and the attached Complaint served upon William Meagher; The Deal, LLC
by in hand or by leaving a copy let his/her abode, or by such other service

as is allowed by laW.

January 28, 2017 John Hurry; Scottsdaie Capital Advisors Corp. shall file the return(s) of
service with this Court. Fai|ure to do so may result in this action being
dismissed Without further notice.

30 days after Defendant William Meagher; The Deal, LLC must file an Appearance and Answer or
is served other responsive pleading form With this Court. A copy of the Appearance
and Answer or other responsive pleading must be sent to the party listed
below and any other party Who has filed an Appearance in this matter.

Notice to William Meagher; The Deal, LLC: if you do not comply With these requirements.you will
be considered in default and the Court may issue orders that affect you Without your input.

Send copies to:

Scottsdaie Capital Advisors Corp. 7170 E lVchona|d Drive #6
Scottsdaie AZ 85253
George R. Moore, ESQ Devine Millimet & Branch PA

111 Amherst Street
Manchester NH 03101

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